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          EXHIBIT 1
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                                                        570-2023-01557
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EEOC Form 5 (11/09)


                        CHARGE OF DISCRIMINATION                                                        Charge Presented To:            Agency(ies) Charge No(s):
              This form is affected by the Privacy Act of 1974. See enclosed Privacy Act                     X FEPA
                     Statement and other information before completing this form.
                                                                                                             X EEOC
                                                          Virginia Commission on Human Rights                                                              and EEOC
                                                                            State or local Agency, if any
Name (indicate Mr., Ms., Mrs.)                                                                                     Home Phone (Incl. Area Code)            Date of Birth

 Dr. Joanne Credle                                                                                                  (703) 615-4358                     10/03/1953
Street Address                                                                   City, State and ZIP Code

 6206 Kayla Ct.                                                                  Brandywine, Maryland 20613
                                                                                                                   Email Address

                                                                                                                   jcprvb31@aol.com
Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That I Believe
Discriminated Against Me or Others. (If more than two, list under PARTICULARS below.)
Name                                                                                                               No. Employees, Members      Phone No. (Include Area Code)

 Northern Virginia Community College “NOVA”                                                                               15+
Street Address                                                                   City, State and ZIP Code

 8333 Little River Turnpike                      Annandale, Virginia 22003




                                                                                                                                                                           Washington Field Office
Counsel: Hannah Stoneburner; Associate System Counsel and Assistant Email Address
Attorney General, Office of System Counsel, Northern Virginia




                                                                                                                                                                           Received by EEOC
Community College, 4001 Wakefield Chapel Road, Annandale, VA           hstoneburner@nvcc.edu




                                                                                                                                                                           Date 2-24-2023
22003; Phone: (703) 503-6382
Name                                                                                                               No. Employees, Members      Phone No. (Include Area Code)


Street Address                                                                   City, State and ZIP Code


                                                                                                                   Email Address


DISCRIMINATION BASED ON (Check appropriate box(es) )                                                                     DATE(S) DISCRIMINATION TOOK PLACE
                                                                                                                                   Earliest                   Latest

     X RACE                 COLOR                  SEX                 RELIGION                NATIONAL ORIGIN           May 2, 2022               Present
               RETALIATION           X AGE  X DISABILITY                                   GENETIC INFORMATION

                      X OTHER (Specify) HWE                                                                                                 CONTINUING ACTION

THE PARTICULARS ARE (If additional paper is needed, attach extra sheet(s)):

    See Attachment A.
    I am represented by counsel in this matter. All correspondence should be directed to my attorney, Valerie
    Teachout, at The Spiggle Law Firm, 3601 Eisenhower Ave., Suite 425, Alexandria, Virginia 22304,
    vteachout@spigglelaw.com, (571) 513-6942.


I want this charge filed with both the EEOC and the State or local Agency, if any. I will NOTARY – When necessary for State and Local Agency Requirements
advise the agencies if I change my address or phone number and I will cooperate fully
with them in the processing of my charge in accordance with their procedures.
                                                                                              I swear or affirm that I have read the above charge and that it is true to the
I declare under penalty of perjury that the above is true and correct.                        best of my knowledge, information and belief.
                                                                                              SIGNATURE OF COMPLAINANT



                                                                                              SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
                                                                                              (month, day, year)

              Date                               Charging Party Signature
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                                                ATTACHMENT A


        Dr. Credle began working at NOVA in April 1982. In her current position as the Coordinator of
Specialized Programs, Dr. Credle works collaboratively with stakeholders and students in
administering special programs. Unfortunately, throughout her tenure, Dr. Credle has witnessed
NOVA discriminating against employees on the basis of their race. These employees include, but are
not limited to, Former NOVA Dean Dr. Evette Hyder-Davis. NOVA has also brought its
discriminatory animus to bear on Dr. Credle, treating her less favorably and harassing her on the basis
of her race (African American), age, and disability         .

NOVA discriminates against Dr. Credle on the basis of her race:

        On or about June 8, 2022, Dr. Credle was notified that the Director of College Government




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Affairs and Community Relations, Thomas “Dana” Dana Kaufmann (Caucasian) was removing her
from the Conference for Hispanic Students (“Conference”) project. Mr. Kauffman alleged that Dr.




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Credle was not following protocol when she allowed children to be present at the Conference;
however, Dr. Credle had arranged for the children to be in a separate room, in close proximity to their
parents. In addition, she had obtained prior verbal approval from the Provost, Dr. Diane Mucci1 for the
children to attend. Nonetheless, Mr. Dana Kaufmann claimed it was unlawful. Prior to June 8, 2022,
the Dean of Operations, Rizwan Rahman failed to help Dr. Credle find chairs for the Conference.
Instead, he merely instructed her to request help from the maintenance department.

        On the evening of June 8, 2022, Dr. Credle emailed Dr. Anne Kress (NOVA President)
expressing her concerns about being removed from the Conference project. With regard to Mr. Dana
Kaufmann’s concern about where the children were to remain during the conference, Dr. Credle told
Dr. Kress that she had “asked someone to contact legal and the person did not follow up. I made [the]
assumption when legal did not respond that everything was okay. If…Mr. Kaufmann and your Chief of
Staff had contacted me about your concerns, my solution would have been…to have the children stay
at the organization office since they already had daycare workers. So my request is to ask you to give
the project back to me [to] do what I do best.” On June 9, 2022, at 2:13pm, Dr. Credle emailed Provost
Mucci and Mr. Dana Kaufmann regarding the rumors that were being circulated about Dr. Credle
supposedly not knowing how to perform her duties. Provost Mucci responded and asked Dr. Credle to
direct her concerns to her [Provost Mucci] since she is her direct supervisor. Dr. Credle replied that she
was going to try to get a doctor’s statement, telling Provost Mucci: “I cannot take the people talking
behind my back.” See Attachment #1, June 8 and 9, 2022, Emails Regarding False Rumors.

       On the afternoon of June 10, 2022, Dr. Credle was talking with one of her former students
about her being removed the project, and Dr. Credle told the former student she felt her removal was
because she is African American. Dr. Credle was the only African American NOVA employee on the
Conference Committee. Andrea Scaletta (Dean Rahman’s Assistant) overheard the conversation and
reported it to Dean Rahman.


1
 In March or April 2021, Dr. Diane Mucci (Caucasian) Acting Provost, competed with two Black candidates for the
Provost position. Dr. Credle emailed the President, Dr. Anne Kress (Caucasian) in support of Provost Mucci, who was
ultimately selected.
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        On June 10, 2022, after not hearing back from Mr. Dana Kaufmann, Dr. Credle went to Mr.
Dana Kaufmann’s office to address the matter in person and asked him why he threw her under the
bus. Mr. Dana Kaufmann refused to speak with Dr. Credle, claimed that she threatened him, and
demanded she leave his office. Dr. Credle did not in any way threaten Mr. Dana Kaufmann.
Immediately after leaving Mr. Dana Kaufmann’s office, Dr. Credle went to Provost Mucci’s office. Dr.
Credle offered Provost Mucci assistance with the certificates needed for the Conference. Dr. Credle
also discussed with Provost Mucci the rumors that were being strewn throughout NOVA about her
supposedly not performing her job duties.

       Being distraught about being removed from the program and Mr. Dana Kaufmann’s hostile
response, on June 10, 2022, Dr. Credle attempted to contact the Director of Human Resources and
EEO, Tammy Currie. Not being able to reach Ms. Currie, Dr. Credle then contacted Charlotte
Calobrisi (Associate Vice-President of HR and Dr. Credle’s former immediate supervisor), who was
on vacation at that time. Dr. Credle sent Ms. Calobrisi a long text on June 10, 2022, telling her what
happened. In her text, Dr. Credle stated the following:




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       Mucci lied on me to the campus. Rizwhan told me he has been doing my job for two
       days. Mucci had meeting with Kelly, Elizabeth , Sharon ,Rizhwan and his new person




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       was, but did not Lando who is Black and had been helping out I emailed that I had
       certificate in my office- it stay in iffy until yesterday. Since I was leaving, I carried the
       certificate to her yesterday. I called her this morning and told [her] that I had made
       arrangements to print the certificate before she remind me that I was off the project. I
       shared everything with her and she act[ed as]if I was working on my own and she will
       have keep rope around me. I was in her office so many times about the event. She told
       the nonprofit that I was not available tomorrow. That I did something wrong. It was
       Abe project at first, but he did not do anything. I think this a goo[d] time for Freedom
       Riders come to Annandale, I am willing to leave if I am to pull off this pro[ject].

       Dr. Credle believes that if Ms. Calobrisi had been present at NOVA on June 10, 2022, Dr.
Credle would not have been suspended, because Ms. Calobrisi was familiar with Dr. Credle’s excellent
work ethic and would have stopped the false rumors being spread about Dr. Credle.

       That evening (June 10, 2022) at approximately 8:00 p.m., Dr. Credle received an email from
Ms. Currie informing Dr. Credle that she was suspended until further notice because she was a threat.
See Attachment #2, June 10, 2022, Email Notification of Suspension. Upon information and belief,
Ms. Currie made the decision to suspend Dr. Credle with input from Provost Mucci and Mr. Dana
Kaufmann, and they did so without providing Dr. Credle the opportunity to respond to the allegations.
On information and belief, Provost Mucci did not inform either Ms. Currie or Mr. Dana Kaufmann that
she had given Dr. Credle verbal approval to have the children on site during the Conference for
Hispanic Students.

        On June 15, 2022, Dr. Credle received an email from Daniel Kaufmann, the Associate Director
of Employee Relations. He explained that Employee Relations had been assigned to conduct an
investigation into the unprofessional conduct she allegedly demonstrated on June 10, 2022, and that, as
part of the investigation, she would be contacted to provide information related to the complaint. Mr.
Daniel Kaufmann also instructed Dr. Credle that, “during the administrative leave period, you are not
permitted to be present on the Annandale Campus or on any NOVA premises.” See Attachment #3,
June 15, 2022, Email from Daniel Kaufmann to Dr. Credle Regarding Investigation and Placement
on Administrative Leave.
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        On July 6, 2022, Dr. Credle was scheduled to attend a meeting with Mr. Daniel Kaufmann, Ms.
Currie, and Ms. Calobrisi to discuss the allegations. Dr. Credle attempted to have Attorney Robert
Webb attend the meeting; however, she received an email that day from Mr. Daniel Kaufmann
notifying her that employees do not have a right to have an attorney present during an HR meeting, and
that the meeting would begin at 4:30 p.m. between Dr. Credle and HR. Notably, Mr. Daniel Kaufmann
stated in the email that, “[t]he purpose of this meeting is for you to provide HR with a response to
allegations regarding your conduct on June 10, 2022.” Mr. Daniel Kaufmann also noted that, “[p]er
VCCS Policy 3.12.3, Suspension, your suspension with pay ends on Friday July 8th, and you will be
expected to return to work on Monday July 11, 2022.” See Attachment #4, July 6, 2022, Email from
Daniel Kaufmann to Dr. Credle Regarding Suspension Meeting.

       Dr. Credle attended the meeting that afternoon, and she told them what happened with regard to
the Project and what occurred on June 10, 2022. They told her she could return to work on July 11,
2022.




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       When Dr. Credle returned to work on July 11, 2022, Provost Mucci presented her with a Letter
of Reprimand–Misconduct (“LOR”). See Attachment #5, July 11, 2022, Letter of Reprimand. In the




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LOR, Provost Mucci alleged that on June 10, 2022, Dr. Credle “had several interactions with
colleagues and co-workers on the Annandale Campus that were unprofessional and discourteous” in
connection with her removal from a project on June 8, 2022. Dr. Credle refused to sign this document.
The LOR claimed that Dr. Credle’s interactions on June 10, 2022, included her “raising her voice and
making inappropriate comments to coworkers and a community partner.” Provost Mucci alleged that
Dr. Credle’s actions on June 10, 2022, violated DHRM Policy 2.35 Civility in the Workplace, DHRM
Policy 1.60 Standards of Conduct, and constituted misconduct under VCCS Policy 3.12.0(c).

NOVA violated Title VII, the Virginia Human Rights Act, as well as numerous DHRM and VCCS
policies:

        Dr. Credle has cognizable claims against NOVA under Title VII, which makes it unlawful for an
employer to “discriminate against any individual with respect to compensation, terms, conditions, or
privileges of employment, because of such individual’s race, color, religion, sex, or national origin,” 42
U.S.C. 2000e-2(a)(1), and the Virginia Human Rights Act (“VHRA”) (Va. Code Ann. § 2.2-3900 et
seq.), whose purpose is to “[s]afeguard all individuals with the Commonwealth from unlawful
discrimination in employment because of race, color, religion, national origin, sex, pregnancy, childbirth
or related medical conditions, age, marital status, sexual orientation, gender identity, disability, or
military status.” Va. Code Ann. § 2.2-3900(B)(2). Title VII and the VHRA forbid discrimination when
it comes to any aspect of employment, including hiring, firing, pay, job assignments, promotions, layoff,
training, fringe benefits, and any other term or condition of employment.

       NOVA discriminated against Dr. Credle when it removed her from a job assignment—the
Conference project—on the alleged basis that she allowed children to be present at the Conference. As
Dr. Credle mentioned to a former student when she was informed of her removal, she was being removed
because she is African American. As the only African American on the Conference Committee before
her removal, Dr. Credle’s intuition as to the reasons for her removal are well-supported by the
discriminatory actions which NOVA took after removing Dr. Credle from the project.
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        Prohibited discrimination under Title VII occurs when the employer treats an individual worse
than similarly situated employees. Chambers v. District of Columbia, 35 F.4th 870 (D.C. Cir. 2022)
(citing Bostock v. Clayton County, --- U.S. ----, 140 S. Ct. 1731, 1740, 207 L.Ed. 2d 218 (2020)).

        To establish a prima facie case of racial discrimination in the enforcement of employee
        disciplinary measures under Title VII, the plaintiff must show: (1) that he is a member of
        the class protected by Title VII, (2) that the prohibited conduct in which he engaged was
        comparable in seriousness to misconduct of employees outside the protected class, and
        (3) that the disciplinary measures enforced against him were more severe than those
        enforced against those other employees.

Cook v. CSX Transp. Corp., 988 F.2d 507 (1993) (citation omitted). In the instant matter, NOVA
disciplined Dr. Credle more severely than a Caucasian faculty member who engaged in misconduct
similar to the misconduct which NOVA alleged that Dr. Credle engaged in. On or around May 2, 2022,
Elisabeth Garibay, who was the Acting Student Life Coordinator (Race: Hispanic/Caucasian)
approached Dr. Credle and was extremely rude. Dr. Credle had asked her to provide a receipt for the




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money she gave her for the Phi Beta Kappa Honor Society. Ms. Garibay responded that she did not have
to provide her with a receipt. Dr. Credle reported her behavior via email to Dr. Anne Kress, NOVA




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President, on May 2, 2022. See Attachment #6, May 2, 2022, Email from Dr. Credle to Dr. Kress
Regarding Disrespectful Colleague. In her email, Dr. Credle also reported that Ms. Garibay had been
rude to a student. Dr. Credle further stated her belief that whenever she complained, she was “ghosted,”
and she made a reference to “Plantation Workers,” attaching a photograph of a map depicting the close
proximity of the Ravensworth Plantation to the NVCC Annandale Campus. See id. In addition to
reporting Ms. Garibay’s rude behavior to Dr. Kress, Dr. Credle reported it to Provost Mucci. Provost
Mucci said she would talk to the colleague. Dr. Credle asked Provost Mucci to put the incident in the
colleague’s personnel record—which, upon information and belief, never happened. Dr. Credle told
Dean Elle Fancher-Ruiz (Ms. Garibay’s supervisor) that she hoped Ms. Garibay would not get the
permanent Student Life Coordinator position because Ms. Garibay did not know how to interact with
African Americans. Later, Ms. Currie asked Dr. Credle if she wanted to go to mediation in regard to Ms.
Garibay. Dr. Credle declined the mediation offer and told Ms. Currie it was because she does not trust
HR.2 Ms. Garibay’s behavior toward Dr. Credle had no less effect of “undermin[ing] team cohesion [or]
staff morale,” in violation of DHRM Policy 2.35 Civility in the Workplace, see Attachment #7, DHRM
Policy 2.35 Civility in the Workplace, than Dr. Credle’s alleged “disruptive and inappropriate” behavior
on June 10, 2022. Yet, instead of taking any disciplinary action against Ms. Garibay, NOVA promoted
Ms. Garibay from her Acting position to the permanent Student Life Coordinator position. In so doing,
NOVA violated not only Title VII, but also DHRM Policy 1.60, which provides that, “Management
should apply corrective or disciplinary actions consistently and in an objective and equitable manner….”
DHRM Policy 1.60 at 3. See Attachment #8, DHRM Policy 1.60, Standards of Conduct.

        During Dr. Credle’s in-person meeting with Mr. Dana Kaufmann on June 10, 2022, he continued
to refuse to respond to Dr. Credle’s concerns about the accusations he was publicly making about her
purportedly not doing her job. Instead, he claimed that she threatened him and ordered her to leave his
office. In so doing, Mr. Dana Kaufmann violated the provision in DHRM Policy 1.60 which requires
that NOVA employees “[d]emonstrate respect for the agency and toward agency coworkers, supervisors,
managers, subordinates, residential clients, students, and customers.” See Attachment #8, DHRM Policy

2
 The head of the Virginia Community College System, approximately 10 years ago, took over NOVA’s HR department
because of so many problems in that department. As of 2022, NOVA had resumed responsibility for the HR department.
This is why Dr. Credle did not trust the HR department.
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1.60 at 4 (emphasis added). NOVA did not discipline Mr. Dana Kaufmann for violating this provision
of DHRM Policy 1.60. Mr. Dana Kaufmann is Caucasian. By failing to discipline Mr. Dana Kaufmann
for violating DHRM Policy 1.60, NOVA engaged in disparate discipline, in violation of Title VII and
DHRM Policy 1.60's requirement that corrective or disciplinary actions be applied “in an objective and
equitable manner.” See Attachment #8, DHRM Policy 1.60 at 3.

        While Provost Mucci did not identify any particular provision of DHRM Policy 1.60 Standards
of Conduct that she claimed Dr. Credle violated, the undersigned surmises that it was the general policy
set forth therein, which provides that, “This policy sets forth the Commonwealth’s Standards of Conduct
and the disciplinary process that agencies must utilize to address unacceptable behavior, conduct, and
related employment problem in the workplace or outside the workplace when conduct impacts an
employee’s ability to do their job and/or influences the agency’s overall effectiveness.” See Attachment
#8, DHMR Policy 1.60 at 1. Notably, Provost Mucci did not allege that Dr. Credle’s behavior on June
10, 2022, either impacted Dr. Credle’s ability to do her job or influenced the agency’s overall
effectiveness.




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       Although Provost Mucci did not point to any particular provision of DHRM Policy 1.60 that she
contended Dr. Credle violated, it is easy to identify several provisions of DHRM Policy 1.60 which




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NOVA violated in suspending Dr. Credle. These violations are as follows:

       (1) NOVA utterly failed to provide Dr. Credle the Due Process to which she is entitled. DHRM
Policy 1.60 provides in pertinent part that: “Prior to the issuance of Written Notices, employees must be
given oral or written notification of the offense, an explanation of the agency’s evidence in support of
the charge, and a reasonable opportunity to respond.” See Attachment #8, DHRM Policy 1.60 at 10. In
Ms. Currie’s June 10, 2022, email to Dr. Credle notifying her that she was being placed on paid
suspension effective immediately, Ms. Currie did not offer any “explanation of the agency’s evidence in
support of the charge,” nor did she give Dr. Credle “a reasonable opportunity to respond.” DHRM Policy
1.60 explains the NOVA’s obligation to provide a “reasonable opportunity to respond” to mean:

        Employees must be given a reasonable opportunity to respond after receiving notification
        of potential disciplinary actions. Typically, a 24-hour period is a sufficient period of time,
        however, a ‘reasonable opportunity to respond’ should not be based solely on the quantity
        of time provided but also on the nature of the offense, the time period over which alleged
        events occurred, and the volume of evidence that may be presented. Based on this
        assessment more or less time may be granted to refute the allegations.

Id.

        (2) NOVA violated DHRM Policy 1.60 when it removed Dr. Credle from the workplace—as Mr.
Daniel Kaufmann instructed Dr. Credle in his June 15, 2022, email, see Attachment #3—without first
determining that Dr. Credle’s continued presence “may be harmful to the employee, other employees,
clients, and/or patients/residents” or “hinders the agency’s ability to conduct business operations.” See
Attachment #8, DHRM Policy 1.60 at 11.

        (3) Ms. Currie violated DHRM Policy 1.60 when she notified Dr. Credle via email that she was
being placed on suspension pending an investigation into her June 10, 2022 behavior. DHRM Policy
1.60 requires that, “[w]ritten notification of pre-disciplinary leave with pay pending a disciplinary review
of agency pre-disciplinary investigation shall be by memorandum….” See Attachment #8, DHRM
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Policy 1.60 at 11 (emphasis added). The email by which Ms. Currie notified Dr. Credle of her suspension
does not meet DHRM Policy 1.60’s requirement that notification be issued via memorandum.

        (4) NOVA violated DHRM Policy 1.60 when it removed Dr. Credle for a pre-disciplinary
investigation for a period exceeding 15 workdays. DHRM Policy 1.60 provides that:

       Employees may be placed on paid pre-disciplinary leave for up to fifteen workdays…If
       the disciplinary review or pre-disciplinary investigation is not completed within fifteen
       workdays…the agency must:

               *      Impose disciplinary action in accordance with this policy; [or]
               *      Permit the employee to return to work to include remote work or a
                             temporary reassignment pending the outcome of the review or
                                     investigation...[and]
               *      Advise the employee of the action in writing.




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See Attachment #8, DHRM Policy 1.60 at 12.




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        NOVA did not take any of the above required actions. Instead, NOVA placed Dr. Credle on
paid pre-disciplinary leave for a total of 20 workdays (beginning on June 13, 2022 and lasting through
July 8, 2022). In so doing, NOVA once again violated its own Standards of Conduct policy. See id.

       (5) Mr. Dana Kaufmann violated DHRM Policy 1.60 when he refused to respond to Dr.
Credle’s questions and concerns about his telling people that she was not performing her job duties.
DHRM Policy 1.60 requires supervisors and managers to:

       serve as role models through their compliance with policies, agency protocols and best
       practices in leading and communicating with their subordinate employees. Expectations
       for supervisors[] and managers include but are not limited to:
       …

       *      Provide consistent and objective feedback, coaching, and instructional guidance
       to employees regarding their performance, conduct or compliance with policies and
       procedures prior to initiating corrective or formal actions.

See Attachment #8, DHRM Policy 1.60 at 5 (emphasis added). Instead of providing Dr. Credle with
“objective feedback, coaching, and instructional guidance” regarding her supposed performance
deficiencies that he was broadcasting to other NOVA employees, Mr. Dana Kaufmann refused to
respond to her email, which then resulted in Dr. Credle’s addressing her concerns with him in-person.
During their in-person meeting, Mr. Dana Kaufmann continued to refuse to respond to Dr. Credle’s
concerns. Instead, he claimed that she threatened him and ordered her to leave his office. In so doing,
Mr. Dana Kaufmann also violated the provision in DHRM Policy 1.60 which requires that NOVA
employees “[d]emonstrate respect for the agency and toward agency coworkers, supervisors,
managers, subordinates, residential clients, students, and customers.” See Attachment #8, DHRM
Policy 1.60 at 4 (emphasis added). Without providing the required “consistent and objective feedback,
coaching, and instructional guidance to [Dr. Credle] regarding [her] performance, conduct or
compliance with policies and procedures prior to initiating corrective or formal actions,” NOVA
initiated Dr. Credle’s suspension, thereby violating DHRM Policy 1.60 at 5.
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        Not only has NOVA violated DHRM Policy 1.60, it also violated VCCS Policy 3.12 relating to
Faculty Sanctions. In suspending Dr. Credle without first giving her an opportunity to respond to
NOVA’s allegations that she acted inappropriately, NOVA violated VCCS Policy 3.12.3(c), which
provides that, “prior to taking such action [to suspend a faculty member], vice president/executive vice
president/provost shall inform the affected faculty member of the reason for the suspension and
provide the faculty member an informal opportunity to respond to the allegations.” See Attachment
#9, VCCS Policy 3.12.3(c) (emphasis added). Completely bypassing its obligation to provide Dr.
Credle this important opportunity to respond to the allegations brought against her, on June 10, 2022,
Ms. Currie summarily issued to Dr. Credle via email a notification that she was being suspended,
effective immediately. Only after Dr. Credle had served nearly four weeks on suspension, and with
only two days remaining of her suspension, did NOVA finally give to Dr. Credle the opportunity on
July 6, 20223, to respond to NOVA’s inaccurate and discriminatory allegations brought against her,
which were, allegedly, the impetus for the suspension.

       NOVA also violated the provision in VCCS Policy 3.12.3(c), which states that it is the
“president or the president’s designee” who has the authority to suspend a faculty member. See id. At




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the time of Dr. Credle’s June 2022 suspension, Anne Kress was NOVA’s President. Dr. Credle did not
receive any documentation showing that Dr. Kress had authorized her suspension, or that Dr. Kress




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had designated Ms. Currie, Provost Mucci, or Mr. Dana Kauffman as having the authority to suspend
Dr. Credle.

         As the above clearly demonstrates, NOVA violated several provisions of DHRM Policy 1.60
and VCCS Policy 3.12.3 in suspending Dr. Credle. On information and belief, NOVA has not similarly
violated these policies when suspending NOVA employees who are not African American.
Additionally, NOVA did not discipline Ms. Garibay for engaging in misconduct that is similar to the
misconduct which NOVA claims Dr. Credle engaged in. In fact, NOVA promoted Ms. Garibay to a
permanent position after her misconduct was brought to the attention of Dean Ruiz. Nor did NOVA
discipline Mr. Dana Kaufmann for violating at least two provisions in DHRM Policy 1.60, one which
requires that he “[p]rovide consistent and objective feedback, coaching and instructional guidance to
employees regarding their performance, conduct or compliance with policies and procedures prior to
initiating corrective or formal actions,” see Attachment #8, DHRM Policy 1.60 at 5, and the other that
he “demonstrate respect for the agency and toward agency…subordinates.” Id. at 4. Because NOVA
disciplined Dr. Credle more harshly than similarly situated NOVA employees who are not African
American and who violated DHRM Policies (i.e., Ms. Garibay and Mr. Dana Kaufmann), NOVA
disparately disciplined Dr. Credle on the basis of her race, in violation of Title VII.

        In the seminal case of Price Waterhouse v. Hopkins, the Supreme Court stated, “[i]n the
specific context of sex stereotyping, an employer who acts on the basis of a belief that a woman cannot
be aggressive, or that she must not be, has acted on the basis of gender.” Price Waterhouse v. Hopkins,
490 U.S. 228, 250, 109 S.Ct. 1775, 1790-91 (1989). Hopkins has no less application in the context of
race stereotyping. NOVA’s actions demonstrate that it took disciplinary action against Dr. Credle
based on its stereotyped belief that African Americans are angry. By suspending Dr. Credle because
she purportedly raised her voice and acted in a threatening manner toward Mr. Dana Kaufmann,
NOVA was acting on its stereotyped belief that African Americans who raise their voices are acting in
a threatening manner. Dr. Credle was understandably upset when she was removed from the
Conference—after successfully working on the project for months—and when she found out that Mr.

3
 Per Mr. Daniel Kaufmann’s July 6, 2022, email to Dr. Credle, her suspension with pay was ending on Friday, July 8,
2022, and she was expected to return to work on Monday, July 11, 2022.
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Dana Kaufmann was spreading rumors that she failed to do her job. When he failed to respond to her
email making the reasonable request to discuss the matter, she went to his office. It is incredulous to
believe that no one-- African American or not--would raise their voice or be upset when the person
responsible for making such career-impacting accusations refuses to discuss those accusations. By
suspending Dr. Credle for raising her voice while attempting to discuss the matter with Mr. Dana
Kaufmann, NOVA was acting on the basis of its stereotyped belief that African Americans who raise
their voices are acting in a threatening manner, in violation of Title VII. See Price Waterhouse, 490
U.S. at 250.

NOVA discriminates against Dr. Credle on the basis of her age, race, and disability:

        After Dr. Credle returned to work after being discriminatorily placed on suspension, she began
to experience debilitating panic attacks. On July 13, 2022, Dr. Credle informed Provost Mucci via
email that when Dr. Credle saw her earlier that day, she felt like Provost Mucci did not want to talk to
her, and that is when Dr. Credle experienced a panic attack. Later that day, Provost Mucci sent to Dr.
Credle via email information that Provost Mucci had requested from HR concerning the process for




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requesting medical accommodations. See Attachment #10, July 13, 2022, Emails Regarding Dr.
Credle’s                  . Shortly thereafter, on or around July 20, 2022, Provost Mucci informed Dr.




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Credle that she was expected to teach a SDV course the fall semester. See Attachment #11, July 20,
2022, Email from Provost Mucci to Dr. Credle. After Provost Mucci asked Dr. Credle to teach the
SDV course, Dr. Credle disclosed to Provost Mucci that she was experiencing panic attacks, which she
had never suffered prior to being suspended on June 10, 2022, and she did not think she could teach
the SDV course. In response, Provost Mucci verbally suggested that Dr. Credle retire. Shocked, Dr.
Credle did not respond. Dr. Credle was born in 1953. Had Dr. Credle been under the age of 40, Provost
Mucci would not have suggested that Dr. Credle retire. Provost Mucci’s remark was directly aimed to
Dr. Credle’s age. Provost Mucci did not have any legitimate, non-discriminatory reason to suggest that
Dr. Credle retire, since Dr. Credle had not brought up the idea of her retiring to Provost Mucci or
anyone else at NOVA.

         In Provost Mucci’s July 20, 2022, email to Dr. Credle, she also informed her that she would be
required, effective August 8, 2022, to work on campus every Monday through Friday from 8am to
4:30pm, due to “AN campus business needs changing.” It should be noted that for the past ten to
fifteen years, Dr. Credle had only been required to work on campus four days per week. Despite
Provost Mucci’s claim that “AN campus business needs…changing” was the reason she was requiring
Dr. Credle to work on campus Monday through Friday, Provost Mucci did not similarly require any of
Dr. Credle’s colleagues who are not African American to adhere to the five day per week on-campus
requirement.

        In Provost Mucci’s July 20, 2022, email to Dr. Credle, she also informed her that she was being
stripped of additional duties/responsibilities. More specifically, Provost Mucci informed Dr. Credle
that Barbara Hopkins would be meeting with the Arlington Sheriff’s Office by herself, and Ms.
Hopkins would be bringing the information back to Dr. Credle. They would then collaborate and move
forward in the creation of a plan to meet their course needs. Barbara Hopkins is Caucasian. Before
getting this email, Dr. Credle had already talked to an individual at the Arlington County Sheriff’s
Office, who was on vacation around this time. Dr. Credle had everything ready for him, in terms of the
classes he needed to take. Ms. Hopkins told Dr. Credle that Provost Mucci wanted Ms. Hopkins’s
office to handle the task. In response to Provost Mucci’s July 20, 2022, email, Dr. Credle emailed the
President, Dr. Anne Kress, as well as Ms. Calobrisi and Ms. Currie on July 21, 2022. In Dr. Credle’s
email, she stated that Ms. Hopkins told her Dr. Kress does not want her to go out and set up programs.
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Dr. Credle reminded them that “[t]his was not in my letter that was issued to me when I was allowed to
come back to work” and stated that, “it seem[s] to me that if I can[not] set up programs, I am useless.”
See Attachment #12, July 21, 2022, Email from Dr. Credle Regarding Removal from Project. The
only response which Dr. Credle received was from Dr. Kress, in which Dr. Kress advised Dr. Credle
that all matters regarding her job description and assigned duties should be discussed with Provost
Mucci. See id. After Dr. Credle informed Dr. Kress of her concern about this project being removed
from her, Ms. Hopkins texted Dr. Credle and accused Dr. Credle of getting her into trouble. On
information and belief, NOVA has not removed job assignments from faculty members who are not
African American when those individuals had been successfully performing those assignments. By
removing this project from Dr. Credle without any legitimate reason for doing so, NOVA
discriminated against Dr. Credle on the basis of her race.

        On July 21, 2022, Provost Mucci sent Dr. Credle a follow up email to their July 20, 2022
meeting regarding the work week and SDV courses that were discussed. In addition, Provost Mucci
informed Dr. Credle that she would need to request an accommodation in order to be removed from
teaching the SDV courses. Furthermore, Provost Mucci threatened Dr. Credle when she told her that




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“excessive absenteeism is not permitted under VCCS or DHRM policy. Similarly, misrepresenting the
reason for requesting sick leave is an abuse of sick time and is not acceptable. Any action that is a




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violation of policy or is not permitted may result in sanctions up to and including dismissal.”

        Following Provost Mucci’s recommendation, in late July/early August 2022, Dr. Credle
submitted a reasonable accommodation request completed by her physician, Dr. Kully Woodruff. See
Attachment #13 - Dr. Credle’s Reasonable Accommodation Request. Dr. Woodruff recommended
that Dr. Credle would likely benefit from being excused from her teaching obligations for the fall
semester, and that her symptoms should be reassessed in six months. Dr. Credle’s reasonable
accommodation request included ample medical documentation showing that she needed to be relieved
of her teaching duties for the fall semester. Dr. Philicia Jefferson’s                   Notes dated
August 16, 2022, state that:

       She [Dr. Credle] is constantly worried about having                  in her place of work.
       She finds herself hastily exiting the environment to avoid embarrassment and to reduce
       the intensity of the              . This condition impairs her ability to perform routine
       work-related tasks. Excessive worry and inhibitions related to classroom instruction,
       interaction with colleagues who subjected her to a demeaning work-related incident
       trigger                   .

See Attachment # 13.1 – August 16, 2022, Psychotherapy Intake Note.

        Unfortunately, this request was denied by the Coordinator for Disabilities, Tiwana Barnes. Dr.
Credle was informed that the accommodation was denied because the SDV courses were included in
her performance plan.

        As a company employing more than fifteen individuals, NOVA is a covered employer under
the Americans with Disabilities Act, 42 U.S.C. 12111 et seq. As a person with a clinically diagnosed
                                       , Dr. Credle is a qualified individual with a disability and is
covered under the statute. Accordingly, it is unlawful for NOVA to discriminate against her because of
her disability. 42 U.S.C. § 2000e–3(a); Wilson v. Dollar Gen. Corp., 717 F.3d 337, 345 (4th Cir.
2013). Dr. Credle notified Provost Mucci of her recent                 which were caused by not only
Mr. Dana Kaufmann’s falsely accusing her of being a threat to others and being unprofessional in the
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even attempting to engage in the interactive process. NOVA is clearly liable for the effects of the
harassment it knew about but did nothing to stop.

Comparators:

Dr. Evette Hyder-Davis: Former Dean of the Business Department; Race: African American; Age:
50-60 years old; disabilities: PTSD; panic attacks. Dr. Hyder-Davis was harassed and treated
unfavorably by Provost Molly Lynch. Around October of 2021, Dean Davis resigned due to the
discriminatory treatment.

Jeffrey Osbourne: Storeroom manager; Race (African American); disabilities unknown. Dean Rizwan
Rahman (Dean of Operations) was Mr. Osbourne’s supervisor. Dean Rahman claimed that Mr.
Osbourne inappropriately raised his voice to him, and Dean Rahman requested a meeting with Provost
Mucci for them to talk. Just as Dr. Credle was falsely accused of raising her voice and threatening Mr.
Dana Kaufmann, Mr. Osbourne was accused of inappropriately raising his voice to Dean Rahman.
These false accusations represent NOVA’s discriminatory bias against African Americans based on




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their stereotyped notion that African Americans become threatening when they raise their voices. Mr.
Osbourne resigned in September 2022.




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        As a result of NOVA’s discriminatory actions, Dr. Credle has suffered substantial damages.

        Dr. Credle requests the following relief:

        1.       Promotion to an Associate Dean or Dean position, with an increase in salary
                 commensurate with the new title and additional duties of such promotion4;
        2.       Expungement of all documents in Dr. Credle’s personnel files relating to NOVA’s
                 suspending Dr. Credle;
        3.       Expungement of all documents in Dr. Credle’s personnel files relating to the July 11,
                 2022, Letter of Reprimand;
        4.       Payment in the amount of $150,000 to compensate Dr. Credle for the emotional and
                 mental distress she experienced as a direct result of NOVA’s actions;
        5.       Full reimbursement for the amount of her Attorney’s Fees, in an amount not less than $
                 30,000, with the exact amount to be determined when Dr. Credle’s other settlement
                 requests have been resolved to the mutual satisfaction of the Parties;
        6.       Mutual non-disparagement provision;
        In exchange, Dr. Credle is willing to execute a general release of her claims against NOVA.




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 Dr. Credle had, on at least a couple occasions, requested a promotion. NOVA responded they did not have the money to
promote her. This is not credible, because NOVA was consistently promoting similarly-situated individuals.
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  ATTACHMENT #2
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From: Credle, JoAnn O.
Sent: Friday, June 10, 2022 10:02 PM
To: Currie, Tammy H. <tcurrie@nvcc.edu>; Kauffman, Thomas D. <tkauffman@nvcc.edu>
Cc: Mucci, Diane M. <dmucci@nvcc.edu>; Calobrisi, Charlotte M. <ccalobrisi@nvcc.edu>; Kress, Anne <akress@nvcc.edu>
Subject: RE: CONFIDENTIAL: Employee Relations Matter

I was not going to show up tomorrow, I email Jorge and told him that I would not be at the event.
The Holy Spirit showed me that my enemy was after me and ask Charlotte to show the text when I asked for her help.

All I want is to get back work to do my job with my students. I hate have students hanging on receiving email that I am out and did
not finish working on a request.

Joann Credle
Joann Credle, Ed.D., NCC, LPC
Coordinator of Specialized Programs
Northern Virginia Community College
CG 218
8333 Little River Turnpike
Annandale, VA 22003




                                                                                                                                      Washington Field Office
(703) 323‐3205
mailto:jcredle@nvcc.edu




                                                                                                                                      Received by EEOC

                                                                                                                                      Date 2-24-2023
From: Currie, Tammy H. <tcurrie@nvcc.edu>
Sent: Friday, June 10, 2022 8:01 PM
To: Credle, JoAnn O. <jcredle@nvcc.edu>
Cc: Mucci, Diane M. <dmucci@nvcc.edu>
Subject: CONFIDENTIAL: Employee Relations Matter

Dr. Credle,
It has been brought to my attention that your behavior today has been perceived as threatening, unprofessional and overall
concerning. As a matter of precaution and in alignment with VCCS Policy 3.12.3, Suspension, I write to inform you that you are
hereby placed on paid leave effective immediately and continuing until today’s actions are fully investigated and a determination
has been made as to whether a policy violation has occurred.
Furthermore, as standard practice, access to NOVA systems will be restricted. Your NOVA email will remain active, and any
communications regarding this matter will be sent to your NOVA email account.
Violations of any policy are taken seriously and treated with the highest degree of confidentiality. Your cooperation in this matter is
appreciated.
Sincerely,
Tammy H. Currie
Director, Human Resources and EEO

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  ATTACHMENT #3
     Case 3:24-cv-00233-DJN Document 1-1 Filed 03/29/24 Page 22 of 88 PageID# 54
From: Kaufmann, Daniel
Sent: Wednesday, June 15, 2022 6:51 PM
To: Credle, JoAnn O. <jcredle@nvcc.edu>
Cc: Currie, Tammy H. <tcurrie@nvcc.edu>; Mucci, Diane M. <dmucci@nvcc.edu>
Subject: Human Resources - Notice of Investigation

Good Evening Dr. Credle,

This is a follow-up to the email communication sent to you on Friday, June 10, 2022 from Tammy Currie, Director of
Human Resources, placing you on paid leave per VCCS Policy 3.12.3, Suspension.

Employee Relations has been assigned to conduct an investigation into the alleged unprofessional conduct you
demonstrated on June 10, 2022. As part of the investigation, you will be contacted to provide information related to
the complaint. While this concern is being investigated, you will remain on paid administrative leave; however, the
expectation is that you remain available to management during normal business hours (8:30am to 5:00pm,
weekdays).

During the administrative leave period, you are not permitted to be present on the Annandale Campus or on any
NOVA premises. Should you need to be on campus or NOVA property, you must contact Provost Diane Mucci or
Tammy Currie, Director of Human Resources, in advance to obtain permission.

To preserve the integrity of the process, we ask that you consider this a confidential matter.




                                                                                                                                 Washington Field Office
Any questions you may have should be directed to myself at dkaufmann@nvcc.edu.




                                                                                                                                 Received by EEOC

                                                                                                                                 Date 2-24-2023
Sincerely,

Daniel Kaufmann
Associate Director, Employee Relations
3926 Pender Dr. Suite 150, Fairfax, VA 22030
Phone: 703.503.6233
HR Main: 703.323.3110/ Fax: 703.323.3155
dkaufmann@nvcc.edu/ www.nvcc.edu
employeerelations@nvcc.edu




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  ATTACHMENT #4
     Case 3:24-cv-00233-DJN Document 1-1 Filed 03/29/24 Page 24 of 88 PageID# 56
From: Kaufmann, Daniel <dkaufmann@nvcc.edu>
Sent: Wednesday, July 6, 2022 2:50 PM
To: Credle, JoAnn O. <jcredle@nvcc.edu>
Cc: Currie, Tammy H. <tcurrie@nvcc.edu>; Calobrisi, Charlotte M. <ccalobrisi@nvcc.edu>
Subject: RE: Human Resources - Investigation Meeting Request

Dr. Credle,

Employees do not have a right to have an attorney present during an HR meeting. The meeting at 4:30pm today is
between HR and yourself. The meeting will not move forward if a third party is present. The purpose of this meeting
is for you to provide HR with a response to allegations regarding your conduct on June 10, 2022. You are being
directed to participate. If you do not participate in the meeting, HR will move forward with a recommendation which
would reflect your lack of participation in this process.

Per VCCS Policy 3.12.3, Suspension, your suspension with pay ends on Friday July 8th, and you will be expected to
return to work on Monday July 11, 2022.

Sincerely,


Daniel Kaufmann




                                                                                                                                     Washington Field Office
Associate Director, Employee Relations
3926 Pender Dr. Suite 150, Fairfax, VA 22030
Phone: 703.503.6233




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                                                                                                                                     Date 2-24-2023
dkaufmann@nvcc.edu/ www.nvcc.edu
employeerelations@nvcc.edu




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From: Credle, JoAnn O. <jcredle@nvcc.edu>
Sent: Wednesday, July 6, 2022 12:34 PM
To: Stoneburner, Hannah D. <hstoneburner@nvcc.edu>
Cc: Currie, Tammy H. <tcurrie@nvcc.edu>; Kaufmann, Daniel <dkaufmann@nvcc.edu>; Calobrisi, Charlotte M.
<ccalobrisi@nvcc.edu>
Subject: RE: Human Resources - Investigation Meeting Request

As I stated earlier, I have not had success with HR, so I am requesting based on my rights to have my lawyer.

Joann Credle
Joann Credle, Ed.D., NCC, LPC
Coordinator of Specialized Programs
Northern Virginia Community College
CG 218
8333 Little River Turnpike
Annandale, VA 22003
(703) 323-3205
mailto:jcredle@nvcc.edu




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     Case 3:24-cv-00233-DJN Document 1-1 Filed 03/29/24 Page 25 of 88 PageID# 57
From: Stoneburner, Hannah D. <hstoneburner@nvcc.edu>
Sent: Wednesday, July 6, 2022 11:50 AM
To: Credle, JoAnn O. <jcredle@nvcc.edu>
Cc: Currie, Tammy H. <tcurrie@nvcc.edu>; Kaufmann, Daniel <dkaufmann@nvcc.edu>; Calobrisi, Charlotte M.
<ccalobrisi@nvcc.edu>
Subject: RE: Human Resources - Investigation Meeting Request

Hello Ms. Credle,

I want to acknowledge your email. As Dan stated this is an employee relations meeting and it is not appropriate for
attorneys or other third parties to be present.

Sincerely,
Hannah

Hannah D. Stoneburner
Associate System Counsel and Assistant Attorney General
Office of System Counsel
Northern Virginia Community College
4001 Wakefield Chapel Road
Annandale, VA 22003




                                                                                                                      Washington Field Office
Phone: (703) 503-6382
hstoneburner@nvcc.edu
www.nvcc.edu




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From: Credle, JoAnn O. <jcredle@nvcc.edu>
Sent: Tuesday, July 5, 2022 6:13 PM
To: Kaufmann, Daniel <dkaufmann@nvcc.edu>; Calobrisi, Charlotte M. <ccalobrisi@nvcc.edu>
Cc: Currie, Tammy H. <tcurrie@nvcc.edu>; Stoneburner, Hannah D. <hstoneburner@nvcc.edu>
Subject: RE: Human Resources - Investigation Meeting Request

Ms. Stone Burner:

I am asking to my lawyer to attend my meeting because- I have a trust issue with Mr. Kauffman and Ms. Currie.

Joann Credle
Joann Credle, Ed.D., NCC, LPC
Coordinator of Specialized Programs
Northern Virginia Community College
CG 218
8333 Little River Turnpike
Annandale, VA 22003
(703) 323-3205
mailto:jcredle@nvcc.edu



From: Kaufmann, Daniel <dkaufmann@nvcc.edu>
Sent: Tuesday, July 5, 2022 5:37 PM

                                                         2
     Case 3:24-cv-00233-DJN Document 1-1 Filed 03/29/24 Page 26 of 88 PageID# 58
To: Credle, JoAnn O. <jcredle@nvcc.edu>
Cc: Currie, Tammy H. <tcurrie@nvcc.edu>
Subject: RE: Human Resources - Investigation Meeting Request

Good Evening Dr. Credle,

It is not NOVA’s practice to allow an employee advocate or representative to be present at an investigatory meeting.
An investigatory meeting is not adversarial. The purpose is fact finding and to provide you with an opportunity to
respond to allegations and share your side of the story.

Please have your counsel reach out to VCCS counsel, Hannah Stoneburner at hstoneburner@nvcc.edu if they
have questions regarding this process.


Thank you,

Daniel Kaufmann
Associate Director, Employee Relations
3926 Pender Dr. Suite 150, Fairfax, VA 22030
Phone: 703.503.6233
HR Main: 703.323.3110/ Fax: 703.323.3155




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From: Credle, JoAnn O. <jcredle@nvcc.edu>
Sent: Tuesday, July 5, 2022 3:18 PM
To: Kaufmann, Daniel <dkaufmann@nvcc.edu>
Cc: Currie, Tammy H. <tcurrie@nvcc.edu>
Subject: RE: Human Resources - Investigation Meeting Request

I am represent by the Spriggle Law Firm and my lawyer would like to set up the meeting for tomorrow at 4:30. I
would like for it to be a zoom meeting. Can you send me a link and I can forward it to the lawyer.

Joann Credle
Joann Credle, Ed.D., NCC, LPC
Coordinator of Specialized Programs
Northern Virginia Community College
CG 218
8333 Little River Turnpike
Annandale, VA 22003
(703) 323-3205
mailto:jcredle@nvcc.edu



From: Kaufmann, Daniel <dkaufmann@nvcc.edu>
Sent: Friday, July 1, 2022 10:19 AM
To: Credle, JoAnn O. <jcredle@nvcc.edu>
Cc: Currie, Tammy H. <tcurrie@nvcc.edu>
Subject: Human Resources - Investigation Meeting Request
Importance: High
                                                               3
     Case 3:24-cv-00233-DJN Document 1-1 Filed 03/29/24 Page 27 of 88 PageID# 59
Good Morning Dr. Credle,

I would like to schedule a mandatory confidential meeting with you to discuss your conduct from June 10, 2022.

Please confirm your availability on either Tuesday, July 5th between 3:00pm – 4:30pm or Wednesday, July 6th
from 2:30pm – 4:30pm. Once confirmed we will send a meeting invite with the date, time and location of the
meeting.

These meetings are confidential. During the meeting we will discuss or answer any questions you may have
regarding this request. No preparation for this meeting is required.

As a general reminder, retaliation against any person who reports a situation or who is involved in a grievance or
complaint, or a follow-up investigation is prohibited and will not be tolerated. Acts of retaliation should be reported to
HR immediately and will be addressed in accordance with state and federal law.

We look forward to speaking with you.

Thank you,

Daniel Kaufmann
Associate Director, Employee Relations




                                                                                                                                     Washington Field Office
3926 Pender Dr. Suite 150, Fairfax, VA 22030
Phone: 703.503.6233
HR Main: 703.323.3110/ Fax: 703.323.3155




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  ATTACHMENT #5
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  ATTACHMENT #6
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                      DEPARTMENT OF HUMAN RESOURCE MANAGEMENT

                         POLICY 2.35 CIVILITY IN THE WORKPLACE



APPLICATION: All Executive Branch employees whether covered or non-covered under
the Virginia Personnel Act. This includes all teaching, research and administrative faculty,
employees of the Governor's Office, the Office of the Lieutenant Governor, and the Office of the
Attorney General.

Expectations for appropriate behaviors extend to contract workers, customers, clients, students,
volunteers, and other third parties in the workplace.




                                                                                                      Washington Field Office
                                                                                                      Received by EEOC

                                                                                                      Date 2-24-2023
PURPOSE:
It is the policy of the Commonwealth to foster a culture that demonstrates the principles
of civility, diversity, equity, and inclusion. In keeping with this commitment, workplace
harassment (including sexual harassment), bullying (including cyber-bullying), and workplace
violence of any kind are prohibited in state government agencies.


POLICY SUMMARY:
This policy is to ensure that agencies provide a welcoming, safe, and civil workplace for their
employees, customers, clients, contract workers, volunteers, and other third parties and to
increase awareness of all employees' responsibility to conduct themselves in a manner that
cultivates mutual respect, inclusion, and a healthy work environment. All employees should
receive training from either the agency EEO Officer or the Diversity, Equity, and Inclusion Unit in
the Department of Human Resource Management to assist them in recognizing, preventing, and
reporting behaviors that constitute harassment, sexual harassment, bullying, cyber-bullying, and
threats or violence related to the workplace. Agencies are required to provide avenues for
addressing complaints; to communicate how employees may access these procedures and
participate in related investigations, free of retaliation; and to hold employees accountable for
violations of this policy.

AUTHORITY & INTERPRETATION:
Title 2.2 of the Code of Virginia

The Director of the Department of Human Resource Management is responsible for official
interpretation of this policy, in accordance with §2.2-1201 of the Code of Virginia. The
Department of Human Resource Management reserves the right to revise or eliminate this
policy.

RELATED POLICIES:
Policy 1.60, Standards of Conduct
Policy 1.75, Use of Electronic Communications and Social Media
Policy 2.05, Equal Employment Opportunity
                                                                                            Page 1
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POLICY HISTORY:
EFFECTIVE DATE    DESCRIPTION
01-01-19          Policy established. This policy replaces Policy 1.80, Workplace Violence and Policy
                  2.30, Workplace Harassment.
05-01-20          Policy re-formatted, link for Policy Guide.
07-01-20          Policy revised per changes in Code of Virginia § 2.2-3901, 2.2-3903.




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                    DEPARTMENT OF HUMAN RESOURCE MANAGEMENT

                     POLICY 2.35 CIVILITY IN THE WORKPLACE

                            ADMINISTRATIVE PROCEDURES



PROCEDURES

                                    Prohibited Conduct

   General Provisions                                    Application




                                                                                                  Washington Field Office
Harassment, Bullying,          The Commonwealth strictly forbids harassment (including
Workplace Violence              sexual harassment), bullying behaviors, and threatening or




                                                                                                  Received by EEOC
                                violent behaviors of employees, applicants for employment,




                                                                                                  Date 2-24-2023
Refer to the Policy Guide       customers, clients, contract workers, volunteers, and other
on Prohibited                   third parties in the workplace.
Conduct/Behaviors for        Behaviors that undermine team cohesion, staff morale,
more information.               individual self-worth, productivity, and safety are not
                                acceptable.
Retaliation                 The Commonwealth will not tolerate any form of retaliation
                            directed against an employee or third party who, in good faith,
                            either reports these prohibited behaviors or participates in any
                            investigation concerning such behaviors.


                                  Complaint Procedures

   General Provisions                                   Application
Timely Reporting            Employees and third parties should report incidents of prohibited
                            conduct as soon as possible after the incident occurs.
Recipient of Complaint       Under no circumstances shall the individual alleging
                               prohibited conduct be required to file a complaint directly with
                               the individual(s) alleged to have engaged in the prohibited
                               conduct.
                             Under no circumstances shall the individual alleged to have
                               engaged in prohibited conduct be allowed to investigate the
                               complaint that he/she is alleged to have engaged in.
Assurance against            Employees and third parties who, in good faith, make
Retaliation                    complaints of inappropriate workplace conduct or provide
                               information related to such complaints will be protected
                               against retaliation.
                             If retaliation occurs, the complainant(s) should report the
                               retaliation through the appropriate complaint procedure.
Discriminatory Prohibited   Employees and applicants for employment seeking to remedy
Conduct                     workplace harassment on the basis of an individual’s race (to
                                                                                         Page 3
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   General Provisions                                 Application
                        include traits historically associated with race including hair
                        texture, hair type, and protective hairstyles such as braids, locks,
                        and twists); sex; color; national origin; religion; sexual orientation;
                        gender identity or expression; age; political affiliation; genetic
                        information; veteran status; pregnancy, childbirth or related
                        medical conditions; or disability may file a complaint using any of
                        the options noted:
                         Internal Agency Procedure for Discriminatory Prohibited
                            Conduct: The employee or applicant may report incidents of
                            discriminatory harassment to his/her supervisor(s), the
                            agency human resource director, the agency head, or any
                            individual(s) designated by the agency to receive such
                            reports; OR
                         State Complaint Procedure for Discriminatory Prohibited
                            Conduct: The employee or applicant may follow the




                                                                                                  Washington Field Office
                            complaint procedure as administered by the DHRM; OR
                         Grievance Procedure for Discriminatory Prohibited Conduct:




                                                                                                  Received by EEOC
                            Eligible employees also may use the State Employee




                                                                                                  Date 2-24-2023
                            Grievance Procedure, which is administered by DHRM, to
                            address discriminatory harassment; OR
                         Federal Complaint Process for Discriminatory Prohibited
                            Conduct: Employees (and applicants for Commonwealth
                            employment) may file a complaint with the U.S. Equal
                            Employment Opportunity Commission.
                         Those wishing to file a grievance may contact the Advice
                            Line, administered by Office of Employee Dispute Resolution
                            to discuss concerns and be advised of options and
                            procedures.
                         Those wishing to file a discriminatory complaint may contact
                            the 800 number administered by the Diversity, Equity, and
                            Inclusion Unit.
Non-Discriminatory       Employees and third parties who have been subjected to or
Prohibited Conduct          have witnessed nondiscriminatory prohibited conduct may
                            report the incident(s) to their supervisor(s), the agency
                            human resource director, the agency head, or any
                            individual(s) designated by the agency to receive such
                            reports.
                         Each agency shall communicate its internal procedure to
                            employees and respond to third parties accordingly.
                         The procedure shall ensure the safety and anonymity of
                            those reporting threats or violent situations and shall include
                            a mechanism to address such situations immediately.
                         This may include prompt notification of appropriate law
                            enforcement or medical authorities.




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                                  Policy Violations

   General Provisions                                  Application
Engaging In Prohibited   Any employee who engages in conduct prohibited under this
Conduct:                 policy or who encourages or ignores such conduct by others
                         shall be subject to corrective action, up to and including
                         termination, under Policy 1.60, Standards of Conduct.
Allowing Prohibited      Managers and/or supervisors who allow observed or reported
Conduct to Continue      prohibited conduct addressed in this policy to continue upon
                         becoming aware of the behavior may be considered parties to
                         the offense and subject to disciplinary action, up to and
                         including termination, under Policy 1.60, Standards of Conduct.
Failure to Respond       Managers and/or supervisors who fail to take appropriate action
                         upon becoming aware of the behavior shall be subject to
                         disciplinary action, up to and including termination, under Policy
                         1.60, Standards of Conduct.




                                                                                                Washington Field Office
Violations Outside the    Violations occurring outside the workplace may be grounds
Workplace                    for disciplinary actions, up to and including termination.




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                          In these situations, the agency must demonstrate that the




                                                                                                Date 2-24-2023
                             conduct committed has a sufficient nexus to the workplace or
                             the agency’s operations, services, or reputation to be
                             addressed by this policy.


                              Agency Responsibilities

  General Provisions                                   Application
Complaint Procedures     Agencies must establish internal complaint procedures,
                         designate recipients of such complaints, and assign
                         responsibilities for investigation and communication of findings.
Safety Protocols         Agencies must establish and communicate protocols for
                         assessing and addressing emergency situations involving
                         threatening or violent behaviors.
Communication            Agencies must communicate this policy to employees and third
                         parties on a periodic basis. Communication must include:
                          The agency’s commitment to providing a safe work
                             environment; to fostering a culture of civility, diversity, and
                             equity inclusion.; and to immediately addressing prohibited
                             conduct.
                          The requirement that employees participate in training on the
                             Civility in the Workplace policy and about the types of
                             behavior that are considered prohibited conduct.
                          Directions and procedures established for filing related
                             complaints. Complaint procedures shall be communicated
                             periodically and through multiple media to ensure that
                             employees are aware of their right to report prohibited
                             conduct and are assured that there will be no retaliation for
                             doing so.



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   General Provisions                                Application
Agency Management        Agency managers and supervisors are required to:
                          Stop any prohibited conduct of which they are aware,
                             whether or not a complaint has been made.
                          Express strong disapproval of all forms of prohibited conduct.
                          Intervene when they observe any acts that may be
                             considered prohibited conduct.
                          Take immediate action to prevent retaliation towards the
                             reporting party or any participant in an investigation.
                          Take immediate action to eliminate any hostile work
                             environment when there has been a complaint of workplace
                             harassment.
                          Take immediate action to address any threats or violent
                             behavior that could endanger the safety of employees and
                             others in the workplace or result in damage to physical
                             structures.




                                                                                                Washington Field Office
Contract Workers/Other   Agencies must ensure that contract workers or other third parties
Third Parties            are made aware of this policy and are provided with related




                                                                                                Received by EEOC

                                                                                                Date 2-24-2023
                         training.


            Department of Human Resource Management Responsibilities

  General Provisions                                  Application
DHRM Responsibilities       Provide online training coursework related to this policy to be
                             accessible to employees.
                            Provide policy and training guidance to agencies.
                            Communicate to agency heads and human resource directors
                             the requirement that all employees complete the online
                             training provided by DHRM or comparable training provided
                             by the agency.




GLOSSARY

Bullying                 Disrespectful, intimidating, aggressive and unwanted behavior
                         toward a person that is intended to force the person to do what
                         one wants, or to denigrate or marginalize the targeted person.
                         The behavior may involve a real or perceived power imbalance
                         between the aggressor and the targeted person. The behavior
                         typically is severe or pervasive and persistent, creating a hostile
                         work environment. Behaviors may be discriminatory if they are
                         predicated on the targeted person’s protected class (e.g., using
                         prejudicial stereotyping or references based on the targeted
                         person’s characteristics or affiliation with a group, class, or
                         category to which that person belongs, or targeting people
                         because they are in a protected class).
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Cyber-Bullying             Using technology to intentionally harm others through hostile
                           behavior, threatening, disrespectful, demeaning, or intimidating
                           messages. Bullying that occurs via the Internet, cell phones, or
                           other devices (e-mails, IMs, text messages, blogs, pictures,
                           videos, postings on social media, etc.). Pretending to be the
                           victim or spreading rumors or visual images online in order to
                           denigrate or marginalize the targeted person. Behaviors may be
                           discriminatory if they are predicated on the targeted person’s
                           protected class (e.g., using prejudicial stereotyping or references
                           based on the targeted person’s characteristics or affiliation with a
                           group, class, or category to which that person belongs, or
                           targeting people because they are in a protected class).

Discriminatory Workplace   Discriminatory Harassment
Harassment [Harassment     Any unwelcome verbal, written or physical conduct that either




                                                                                                     Washington Field Office
Illegal under Equal        denigrates or shows hostility or aversion towards a person on the
Employment Laws]           basis of race; traits historically associated with race including hair




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                           texture, hair type, and protective hairstyles such as braids, locks,




                                                                                                     Date 2-24-2023
                           and twists; sex; color; national origin; genetic information;
                           religion; sexual orientation; gender identity or expression; age;
                           political affiliation; veteran status; pregnancy, childbirth or related
                           medical conditions; or disabilities, that: (1) has the purpose or
                           effect of creating an intimidating, hostile or offensive work
                           environment; (2) has the purpose or effect of unreasonably
                           interfering with an employee’s work performance; or (3) affects
                           an employee’s employment opportunities or compensation.

                           Sexual Harassment
                           Any unwelcome sexual advance, request for sexual favors, or
                           verbal, written or physical conduct of a sexual nature by a
                           manager, supervisor, co-workers or non-employee (third party).

                           Quid pro quo
                           A form of sexual harassment by a manager/supervisor or a
                           person of authority in which an employee’s receipt of a job
                           benefit or the imposition of a tangible job detriment is conditioned
                           on the employee’s acceptance or rejection of the harassment.

                           Hostile work environment
                           A form of sexual harassment when a victim is subjected to
                           unwelcome and severe or pervasive repeated sexual comments,
                           innuendos, touching, or other conduct of a sexual nature that
                           creates an intimidating or offensive place for the employees to
                           work.

Non-Discriminatory         Any targeted or directed unwelcome verbal, written, social, or
Workplace Harassment       physical conduct that either denigrates or shows hostility or
[Harassment not Based      aversion towards a person not predicated on the person’s
on Protected Classes]      protected class.

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Retaliation           Overt or covert acts of reprisal, interference, restraint, penalty,
                      discrimination, intimidation, or harassment against an individual
                      or group exercising rights under this policy.

Third Parties         Individuals who are not state employees, but who have business
                      interactions with state employees. Such individuals include, but
                      are not limited to:
                       Customers;
                       Clients;
                       Students;
                       Interns;
                       Vendors;
                       Contractors;
                       Volunteers;
                       Applicants for state employment or services; and the
                       General public.




                                                                                              Washington Field Office
Workplace             Any location, either permanent or temporary, where an employee




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                      performs any work-related duty or is representing the agency in
                      this capacity. This includes, but is not limited to, the buildings
                      and surrounding perimeters, including the parking lots, field
                      locations, alternate work locations, clients’ homes or offices,
                      outside meetings, conferences and conventions, and travel to
                      and from work assignments. It also applies to written, verbal, or
                      graphic communications delivered in person, via phone,
                      message, computer, or social media.

Workplace Violence    Any physical assault, threatening behavior, or verbal abuse
                      occurring in the workplace by employees or third parties.
                      Threatening behaviors create a reasonable fear of injury to
                      another person or damage to property or subject another
                      individual to extreme emotional distress.




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                     DEPARTMENT OF HUMAN RESOURCE MANAGEMENT

                           POLICY 1.60 STANDARDS OF CONDUCT



APPLICATION: Full-time, Quasi Full-time, and Part-time non-probationary classified
employees. Note: Agencies may use this policy as a guide for evaluating the workplace
conduct of employees who are not covered by the Virginia Personnel Act, such as wage
employees, probationary employees and employees expressly excluded from the application of
policy. Official Written Notice forms may not be issued to these employees.




                                                                                                                     Washington Field Office
PURPOSE:
It is the policy of the Commonwealth to promote the well-being of its employees by maintaining
high standards of work performance and professional conduct with an overall emphasis on




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                                                                                                                     Date 2-24-2023
diversity, equity and inclusion that promotes equitable treatment of all employees.

POLICY SUMMARY:
This policy sets forth the Commonwealth’s Standards of Conduct and the disciplinary process
that agencies must utilize to address unacceptable behavior, conduct, and related employment
problems in the workplace or outside the workplace when conduct impacts an employee’s ability
to do their job and/or influences the agency’s overall effectiveness.

AUTHORITY & INTERPRETATION:
Title 2.2 of the Code of Virginia

The Director of the Department of Human Resource Management is responsible for official
interpretation of this policy, in accordance with §2.2-1201 of the Code of Virginia. The
Department of Human Resource Management reserves the right to revise or eliminate this
policy.

RELATED POLICIES:
All DHRM issued policies
Related Agency policies

POLICY HISTORY:
 EFFECTIVE DATE      DESCRIPTION
 04-16-08            Policy published.
 06-01-11            Policy revised.
 01-10-12            Policy corrected to note that campus police departments of any public institution of
                     higher education of the Commonwealth where such department, bureau or force
                     has ten or more law-enforcement officers also have access to the procedural
                     guidelines of Va. Code § 9.1-500 – 507 in cases of investigation of work-related
                     matters that could lead to the dismissal, demotion, suspension or transfer for
                     punitive reasons of a law-enforcement officer.
 03-07-22            Policy reformatted and revised. Addition of Policy Guidance Documents.



PROCEDURES
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                                     Shortcuts to Sections

General Principles

Employee Standards of Conduct

Corrective and Disciplinary Action

Due Process

Pre-disciplinary Leave With or Without Pay

Disciplinary Suspension

Removal Due to Circumstances which Prevent Employees from Performing their Jobs




                                                                                                  Washington Field Office
Use of Grievance Procedure

Records Management




                                                                                                  Received by EEOC

                                                                                                  Date 2-24-2023
Glossary

                                      General Principles

   General Provisions                                     Application
 Guidelines                 ●   The intent of this policy and its procedures is to help
                                employees become fully contributing members of the
                                organization. This policy enables agencies to administer
                                corrective actions or discipline to improve performance or
                                conduct or terminate employees whose conduct and/or
                                performance does not improve.
                            ●   Agencies are encouraged to follow a course of progressive and
                                situationally appropriate discipline that objectively and
                                consistently addresses employee behavior, conduct, or
                                performance that is incompatible with the state’s Standards of
                                Conduct, agency expectations for employees, and/or related
                                agency policies.
                                    o NOTE: Non-probationary law enforcement officers
                                        employed by the Department of State Police, the
                                        Virginia Marine Resources Commission, the
                                        Department of Wildlife Resources, the Department of
                                        Conservation and Recreation, the Department of Motor
                                        Vehicles, the Department of Corrections and the
                                        campus police department of any public institution of
                                        higher education of the Commonwealth where such
                                        department, bureau or force has ten or more law-
                                        enforcement officers also have access to the
                                        procedural guidelines of the Code of Virginia § 9.1-500
                                                                                         Page 2
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  General Provisions                                 Application
                                   – 507 and § 9.1-508 – 512 respectively in cases of
                                   investigation of work-related matters that could lead to
                                   the dismissal, demotion, suspension or transfer for
                                   punitive reasons of a law enforcement officer.
                       ●   Corrective or disciplinary actions must be administered through
                           an objective process initiated as promptly as feasible.
                       ●   There may be circumstances when an employee’s conduct
                           requires immediate disciplinary action without employing
                           progressive discipline. If the misconduct and/or unacceptable
                           performance is of an especially serious nature, a first offense
                           may warrant significant discipline, including termination.
                           Agencies must provide notice of intent and give the employee
                           an opportunity to respond. Then the agency must document




                                                                                                Washington Field Office
                           the nature of the offense and the reason for taking disciplinary
                           measures via a Written Notice.




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                       ●




                                                                                                Date 2-24-2023
                           Management should apply corrective or disciplinary actions
                           consistently and in an objective and equitable manner, while
                           taking into consideration the specific circumstances of each
                           individual case. Prior to taking such action, management must
                           consider the following:

                               o   Whether the corrective or disciplinary action is
                                   consistent with state and agency standards of conduct.
                               o   The nature, severity, and consequences of the offense.
                               o   Whether the offense constitutes a violation of a policy,
                                   procedure, rule, or law.
                               o   Previous counseling, whether verbal or written, that
                                   addressed the same or similar misconduct or
                                   performance.
                               o   Previous disciplinary actions that addressed the same
                                   or similar misconduct or performance.
                               o   Whether the offense relates to the employee’s job
                                   duties and the employee’s ability to perform
                                   satisfactorily.
                               o   How issues with similarly situated employees have
                                   been addressed.
                               o   Mitigating factors that would compel a reduction in the
                                   disciplinary action to promote the interests of fairness,
                                   equity and objectivity.
                               o   Whether the corrective or disciplinary action is
                                   appropriate for a specific offense.

                           ●   Before the need for, or in addition to corrective counseling
                               or disciplinary action, management may refer employees to
                                                                                       Page 3
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  General Provisions                                    Application
                                  the Employee Assistance Program (EAP) or other
                                  professional assistance program as appropriate to
                                  encourage employees to address their needs in support of
                                  work performance or conduct improvement. Referrals to
                                  the EAP or comparable program shall not be considered a
                                  substitute for any disciplinary action imposed for the
                                  commission of an offense.

                                  NOTE: Mandated referrals to the EAP or comparable
                                  program may be required depending upon the nature of the
                                  behavior or misconduct. Agencies are advised to consult
                                  with their agency’s Assistant Attorney General prior to
                                  mandating participation in such programs.




                                                                                                       Washington Field Office
                              Employee Standards of Conduct




                                                                                                       Received by EEOC

                                                                                                       Date 2-24-2023
   General Provisions                                   Application
Expectations of Conduct   Agencies have the authority to supplement the list below as
for Employees             needed in a manner consistent with the needs of the organization
                          and intent of this policy. The following list is not all-inclusive but is
                          intended to illustrate the minimum expectations for acceptable
                          workplace conduct and performance.

                          ●   Report to work as scheduled and seek approval from the
                              supervisor in advance for any changes to the established work
                              schedule, including the use of leave and late or early arrivals
                              and departures.
                          ●   Perform assigned duties and responsibilities with the highest
                              degree of public trust.
                          ●   Devote full effort to job responsibilities during work hours.
                          ●   Maintain the qualifications, certification, licensure, and/or
                              training requirements identified for their positions.
                          ●   Demonstrate respect for the agency and toward agency
                              coworkers, supervisors, managers, subordinates, residential
                              clients, students, and customers.
                          ●   Use state equipment, time, and resources judiciously and as
                              authorized.
                          ●   Support efforts that ensure a safe and healthy work
                              environment.
                          ●   Utilize leave and related employee benefits in the manner for
                              which they are intended.
                          ●   Resolve work-related issues and disputes in a professional
                              manner and through established business processes.
                          ●   Meet or exceed established job performance expectations.

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  General Provisions                                 Application
                       ●   Make work-related decisions and/or take actions that are in the
                           best interest of the agency.
                       ●   Comply with the letter and spirit of all state and agency policies
                           and procedures, the Conflict of Interest Act, and
                           Commonwealth laws and regulations.
                       ●   Report circumstances or concerns that may affect satisfactory
                           work performance to management, including any inappropriate
                           activities (such as fraudulent, illegal, unethical or discriminatory
                           actions) of other employees.
                       ●   Obtain approval from supervisor prior to accepting, initiating, or
                           continuing outside employment.
                       ●   Obtain approval from supervisor prior to working overtime, if
                           non-exempt from the Fair Labor Standards Act (FLSA).




                                                                                                  Washington Field Office
                       ●   Work cooperatively to achieve work unit and agency goals and
                           objectives.




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                       ●




                                                                                                  Date 2-24-2023
                           Conduct themselves at all times in a manner that supports the
                           mission of their agency and the performance of their duties.


Expectations for       Supervisors and managers are expected to serve as role models
Supervisors and        through their compliance with policies, agency protocols and best
Managers               practices in leading and communicating with their subordinate
                       employees. Expectations for supervisors, and managers include
                       but are not limited to:

                       ●   Demonstrate interpersonal communications, leadership
                           strategies and personal conduct that fosters a respectful
                           workplace culture and models the expectations established for
                           employees;
                       ●   Provide consistent and objective feedback, coaching and
                           instructional guidance to employees regarding their
                           performance, conduct or compliance with policies and
                           procedures prior to initiating corrective or formal actions;
                       ●   Document verbal counseling and retain corrective written
                           counseling in confidential supervisory files;
                       ●   Ensure the confidentiality of employee performance and
                           disciplinary actions and related documentation.
                       ●   Establish on-boarding and periodic communications with
                           subordinates to inform them of policies, protocols, and
                           expectations specific to job duties;
                       ●   Seek guidance from Human Resources prior to administering
                           disciplinary actions or removing employees from the
                           workplace. This includes the responsibility to communicate
                           any job-related criminal charges and convictions to Human

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  General Provisions                                  Application
                           Resources;
                       ●   Under the guidance of Human Resources, participate
                           collaboratively in pre-disciplinary investigations or disciplinary
                           reviews to include identifying or disclosing relevant
                           documentation and witnesses or parties to the incident(s) of
                           concern;
                       ●   Participate in periodic training/education on the Standards of
                           Conduct policy and best practices.




                                 Corrective Actions




                                                                                                  Washington Field Office
  General Provisions                                 Application
Counseling             ●   Counseling is provided by a supervisor or manager in the




                                                                                                  Received by EEOC

                                                                                                  Date 2-24-2023
                           employee’s reporting structure and is typically the first level of
                           corrective action but is not a required precursor to the issuance
                           of Written Notices. Counseling may be verbal or written
                           communication which conveys that an employee’s conduct or
                           performance was improper and must be corrected.
                       ●   Counseling is appropriate for conduct and/or performance
                           issues resulting in minimal impact to business operations or
                           that involve minor infractions of policies or laws.
                       ●   Documentation regarding counseling should be retained in the
                           supervisor's files, and not in the employee's official personnel
                           file maintained by the Agency’s Human Resources office,
                           except as necessary to support subsequent formal disciplinary
                           action or a Below Contributor performance rating as part of the
                           annual performance review. A copy must be provided to the
                           employee.
                       ●   Legal counsel shall not attend counseling sessions.

Verbal Counseling      ●   Verbal counseling should consist of private, confidential
                           discussions between employees and their supervisors
                           regarding the desired course of action to improve the
                           employees' performance and/or conduct, and what may occur
                           if the performance or conduct is not corrected.
                       ●   The supervisor should explain that a summary of the
                           conversation will be noted and placed in the supervisory file.


Written Counseling     ●   A written memorandum or Notice of Improvement
                           Needed/Substandard Performance form should be issued to
                           emphasize the significance of relatively minor acts of
                                                                                         Page 6
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  General Provisions                                     Application
                                misconduct or unacceptable performance when facts and
                                discussions with the employee demonstrate that verbal
                                counseling has not corrected the problem. It may also be
                                issued as the initial means to address first instances of
                                misconduct or unsatisfactory performance.
                            ●   Written counseling must be documented by a letter,
                                memorandum, electronic communication or Notice of
                                Improvement Needed/Substandard Performance form. It
                                should not be documented via the Written Notice form.




                                      Disciplinary Actions




                                                                                                       Washington Field Office
Formal Written Notices      ●   When counseling has failed to correct misconduct or




                                                                                                       Received by EEOC

                                                                                                       Date 2-24-2023
                                performance problems, or when an employee commits a more
Refer to Attachment A:          serious offense, management should address the matter by
Examples of Offenses            issuing a Written Notice.
Grouped by Level for        ●   A Written Notice may be accompanied by additional actions
additional information.         including suspension; a demotion or transfer with reduced
                                responsibilities with a disciplinary salary action; a transfer to an
                                equivalent position in a different work area; or termination.
Refer to the Disciplinary   ●   Management should issue Written Notices as promptly as
Meeting Reference               feasible upon becoming aware of misconduct or unacceptable
Guide for additional            performance. (Refer to the Due Process section of this policy).
information.                ●   The Written Notice Form must include an advisory statement
                                that an active Written Notice may affect the employee’s overall
                                annual performance evaluation rating.

                            To assist management in the assessment of the appropriate
                            action, offenses are organized into three groups (Group I, Group II,
                            and Group III) according to the severity of the misconduct or
                            behavior.

                            ●   Examples of offenses, by group, are presented in Attachment
                                A – Examples of Offenses Grouped by Level.
                            ●   The offenses listed in Attachment A are not all-inclusive, but
                                are intended as examples of conduct for which specific
                                corrective or disciplinary actions may be warranted.
                            ●   Agencies may address multiple offenses through the issuance
                                of one or more Written Notices.
                            ●   Accordingly, any offense not specifically enumerated, that in
                                the judgment of agency heads or their designees undermines
                                the effectiveness of agencies' activities, may be considered
                                unacceptable and treated in a manner consistent with the
                                provisions of this section.


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                     ●   An employee’s legal counsel may not attend or participate in
                         internal discussions or investigative meetings to determine the
                         facts or if violations have occurred.

                     NOTE: Under certain circumstances, an offense typically
                     associated with one offense category may be elevated to a higher-
                     level offense. Agencies may consider any unique impact that a
                     particular offense has on the agency and the fact that the potential
                     consequences of the performance or misconduct substantially
                     exceed agency norms.

Group I Offense          ●   Offenses in this category include acts of minor misconduct
                             that require formal disciplinary action. This level is
                             appropriate for repeated acts of minor misconduct or for
                             first offenses that have a relatively minor impact on
                             business operations but still require formal intervention.




                                                                                              Washington Field Office
                             See attachment A for examples of Group I Offenses and
                             the effects on accumulation or repeat offenses.




                                                                                              Received by EEOC

                                                                                              Date 2-24-2023
                     Active Life of Notices
                     ● Two years from the date of issuance to the employee.

                     Suspension Options
                     ● No suspension for a first offense, but a third active Group I
                        Notice may result in a suspension of up to ten workdays (or a
                        maximum of 80 hours for non-exempt employees). Refer to
                        the Disciplinary Suspension section of this policy for guidance
                        on the suspension of exempt employees.

Group II Offense     Offenses in this category include acts of misconduct of a more
                     serious and/or repeat nature that require formal disciplinary action.
                     This level is appropriate for offenses that seriously impact
                     business operations and/or constitute neglect of duty involving
                     major consequences, insubordinate behaviors and abuse of state
                     resources, violations of policies, procedures, or laws. See
                     attachment A for examples of Group II Offenses and the effect on
                     accumulation.

                     Active Life of Notices
                     ● Three years from the date of issuance to the employee.

                     Suspension Options
                     ● Suspension of up to 10 workdays (or maximum of 80 hours for
                        non-exempt employees) for the first Group II Offense. Refer to
                        the Disciplinary Suspension section of this policy for guidance
                        on suspensions for exempt employees.

Group III Offense    Offenses in this category include acts of misconduct of such a
                     severe nature that a first occurrence normally should warrant
                     termination. This level is appropriate for offenses that, for
                     example, endanger others in the workplace, constitute illegal or
                                                                                     Page 8
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                         unethical conduct; indicate significant neglect of duty; result in
                         disruption of the workplace; or other serious violations of policies,
                         procedures, or laws. See attachment A for examples of Group III
                         Offenses.

                         Active Life of Notices
                         ● Four years from the date of issuance to the employee.

                         Suspension Options
                         ● Suspension of up to 30 workdays (or maximum of 240 hours
                            for non-exempt employees). Refer to the Disciplinary
                            Suspension section of this policy for guidance on suspensions
                            for exempt employees.

                         Considerations for Group III Offenses
                         ● One Group III Offense normally should result in termination




                                                                                                   Washington Field Office
                            unless there are mitigating circumstances.
                         ● Mitigating circumstances for a Group III offense may support,




                                                                                                   Received by EEOC
                            as an alternative to termination, an employee's demotion or




                                                                                                   Date 2-24-2023
                            transfer to a position with reduced responsibilities or removal of
                            responsibilities and a disciplinary salary action with a minimum
                            5% reduction in salary; transfer to an equivalent position in a
                            different work area; and/or suspension of up to 30 workdays.
                         ● An employee who is issued a Written Notice that would
                            normally warrant termination but who is not terminated due to
                            mitigating circumstances should be notified that any
                            subsequent Written Notice for any level offense during the
                            active life of the Written Notice may result in termination.
                         ● If an agency permits an employee to resign in lieu of
                            termination, this transaction should be recorded in the human
                            resource system of record as a resignation in lieu of
                            termination.

Active Life of Written   The active life of Written Notices as stated above are definite and
Notices                  may not be extended due to an employee’s absence. Notices
                         expire when an employee voluntarily or involuntarily separates
                         provided that re-employment with the same or different agency
                         occurs after a formal break in service and a new probationary
                         period is required.

Mitigating               ●   Agencies may reduce the level of a disciplinary action if there
Circumstances and            are mitigating circumstances, such as conditions that compel a
Aggravating Factors          reduction to promote the interests of consistency, equity and
                             objectivity, or based on an employee's otherwise satisfactory
                             work performance.
                         ●   Aggravating Factors may support a higher-level offense when
                             the facts and circumstances associated with the employee’s
                             actions negatively impact the employee’s credibility as a
                             supervisor/manager of subordinates, reveals a serious
                             disregard for the safety and well-being of self or others, or
                             damages the credibility and reputation of the agency. Repeat
                                                                                          Page 9
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                             infractions of the same or significantly similar offense may also
                             be considered an aggravating factor.



                              Notice of Intent (Due Process)

   General Provision                                    Application
Advance Notice of             ●   Prior to the issuance of Written Notices, employees must
Potential Discipline to           be given oral or written notification of the offense, an
Employees                         explanation of the agency's evidence in support of the
                                  charge, and a reasonable opportunity to respond.

Employee’s “Reasonable        ●   Employees must be given a reasonable opportunity to
Opportunity to Respond”           respond after receiving notification of potential disciplinary




                                                                                                   Washington Field Office
                                  actions. Typically, a 24-hour period is a sufficient period
                                  of time, however, a “reasonable opportunity to respond”




                                                                                                   Received by EEOC

                                                                                                   Date 2-24-2023
                                  should not be based solely on the quantity of time
                                  provided but also on the nature of the offense, the time
                                  period over which alleged events occurred, and the
                                  volume of evidence that may be presented. Based on this
                                  assessment more or less time may be granted to refute
                                  the allegations.
                              ●   The employee’s response may be written or provided to
                                  management during a virtual, telephonic or face to face
                                  meeting.
                              ●   Legal counsel may not attend or participate in the
                                  agency’s internal due process meetings. Agency staff in
                                  attendance may include the appropriate supervisor or
                                  manager within the employee’s reporting structure. A
                                  representative of Human Resources may also attend.
                              ●   An employee on paid or unpaid leave may receive a notice
                                  of intent and the agency may proceed with the expectation
                                  for the employee to respond. However, agencies are
                                  encouraged to be mindful of the employee’s current
                                  circumstances and availability to respond.

Human Resource             Prior to the issuance of any Written Notices, demotions, transfers
Director’s review of       with disciplinary salary actions, suspensions or terminations,
disciplinary actions       Agency Human Resource Directors or their designees must
                           review the documentation for the recommended actions to
Refer to the Due Process   determine:
Reference Guide for        ● If the action is appropriate for the offense and if the
additional information.        documentation supports the selected level of action;
                           ● If a referral to the employee assistance program is advisable;

                                                                                         Page 10
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   General Provision                                  Application
                        ●   If there is evidence that warrants mitigation of the disciplinary
                            actions, and
                        ●   What the final recommendation for corrective action should be
                            to ensure consistency, equity and objectivity.



      Pre-disciplinary Leave or Suspensions Pending Reviews or Investigations

  General Provisions                                Application
Removal from the       Contingent upon the circumstances, management may
Workplace              immediately remove an employee from the workplace or instruct
                       the employee to cease performing work or representing the
                       agency in business matters when the employee’s continued




                                                                                                Washington Field Office
                       presence:
                           ● May be harmful to the employee, other employees, clients,




                                                                                                Received by EEOC
                              and/or patients/residents;




                                                                                                Date 2-24-2023
                           ● Hinders the agency’s ability to conduct business
                              operations;
                           ● May hamper or interfere with an internal agency disciplinary
                              review or pre-disciplinary investigation regarding the
                              employee’s alleged misconduct;
                           ● May hamper or interfere with an external investigation
                              conducted by law enforcement for alleged criminal charges
                              that are relevant to the employee’s performance of
                              assigned job duties; and/or
                           ● May constitute negligence in regards to the agency’s duties
                              to the public and/or other employees.

                       Following the employee's removal from the work area for reasons
                       stated above, management must provide a notice of intent of
                       potential disciplinary action as promptly as feasible.

                       Written notification of pre-disciplinary leave with pay pending a
                       disciplinary review or agency pre-disciplinary investigation shall be
                       by memorandum, not communicated via the Written Notice form.

                       Contingent with the circumstances and in consultation with Human
                       Resources, agency management may temporarily reassign an
                       employee to a vacant position in the same pay band, temporarily
                       remove and reassign job duties at the same pay level, or permit
                       the employee to telework as appropriate.




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   General Provisions                                    Application
                           Provide the employee specific instructions in writing prohibiting
                           potential interference with the ongoing investigation to include
                           refraining from discussing the matter with other employees. Such
                           discussions shall be limited to Human Resources or the
                           employee’s supervisor or managers within their reporting structure.

Removal for Disciplinary   Employees may be placed on paid pre-disciplinary leave for up to
Reviews or Pre-            fifteen workdays (maximum of 120 hours for non-exempt
disciplinary               employees).
Investigations
                           If the disciplinary review or pre-disciplinary investigation is not
                           completed within fifteen workdays or 120 hours the agency must:
                           ● Impose disciplinary action in accordance with this policy;
                           ● Permit the employee to return to work to include remote work




                                                                                                    Washington Field Office
                                or a temporary reassignment pending the outcome of the
                                review or investigation; or




                                                                                                    Received by EEOC

                                                                                                    Date 2-24-2023
                           ● Extend pre-disciplinary leave with pay for a specified period of
                                time as determined by the agency head; and
                           ● Advise the employee of the action in writing.

Removal from the           Management may also immediately remove an employee from the
Workplace for Criminal     workplace without providing advance notification when the
Charges                    employee is under investigation for alleged criminal conduct that is
                           impactful to the employee’s performance of job duties or to the
                           agency’s critical mission activities. Contingent with the
                           circumstances of the criminal charges, reassignment may occur if
                           the agency can identify a placement that does not jeopardize the
                           investigation or create liability for the Commonwealth.

                           Suspension without Pay due to Alleged Criminal Conduct

                           ●   Any employee who is formally charged with a criminal offense
                               that impacts their ability to do their job or represents a risk to
                               the agency and to the agency’s mission shall be immediately
                               suspended without pay for a period not to exceed ninety
                               calendar days or temporarily reassigned to a position that is
                               not impacted by the criminal charges.
                           ●   Agencies have the option to allow employees to charge
                               accrued annual leave to this period of suspension provided that
                               the employee has sufficient leave balances.
                           ●   If, at the conclusion of the ninety-day period of suspension
                               without pay there has been no resolution of the criminal
                               charge, the employee will be placed on or returned to pre-
                               disciplinary leave with pay until the charge has been resolved.


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   General Provisions                                    Application
                          ●   If the criminal investigation is concluded without a formal
                              indictment, or if the charge is resolved without the employee
                              being convicted, the employer shall return the employee to
                              active status.
                          ●   Any accrued annual leave applied to the period of suspension
                              without pay for pending criminal charges shall be reinstated
                              provided the leave was not carried over into the new Leave
                              Year on January 10th. This includes the reinstatement of
                              missed annual leave accruals.
                          ●   Regardless of the status of any criminal investigation, process,
                              or outcome, the agency may determine at any time to notify the
                              employee of disciplinary charges and administer formal
                              disciplinary actions up to and including termination, based




                                                                                                     Washington Field Office
                              upon the facts or evidence of conduct that prompted the
                              criminal investigation or process.




                                                                                                     Received by EEOC
                          ●




                                                                                                     Date 2-24-2023
                              See the Policy Guidance document Impact of Suspension on
                              Pay and Benefits

Impact of Felony          In accordance with § 51.1-124.13, when an employee is convicted
Convictions for           of a felony for misconduct associated with the performance of job
Misconduct Associated     duties, a forfeiture of all VRS-related benefits will occur.
with Performance of Job
Duties                        ●   Prior to making such a determination, the agency must
                                  provide the employee with a written notice and provide a
                                  reasonable opportunity for the employee to be heard during
                                  the agency’s review process. The employee’s response
                                  may be written or heard orally via a virtual or in person
                                  meeting.
                              ●   Upon consideration of the employee’s response and the
                                  relevant criteria associated with the felony, the agency shall
                                  notify the employee in writing of a determination which shall
                                  also include the employee’s option to appeal.
                              ●   Within five calendar days of the receipt of the
                                  determination, the employee may submit a written appeal
                                  of the agency’s determination sent to the Agency Head or
                                  designee.
                              ●   Within five working days of receiving an employee’s appeal
                                  of the determination, the agency shall transmit a copy of
                                  the record to the clerk of the circuit court in the jurisdiction
                                  where the employer is located.
                              ●   If a timely appeal is not filed by the employee, the Agency’s
                                  determination becomes final ten calendar days after the
                                  agency’s determination.

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   General Provisions                                  Application
                            ●   Within thirty days of the receipt of the record, the court shall
                                hear the appeal and evidence that is necessary to resolve
                                any controversy as to the correctness of the record and at
                                its discretion, may hear other relevant evidence. The circuit
                                court hearing shall be at no cost to the Agency or the
                                employee per § 51.1-124.13.
                            ● The court may affirm, reverse or modify the Agency’s
                                determination. The decision of the court shall be rendered
                                within fifteen days from the date of the hearing’s
                                conclusion. The court’s decision shall be considered final
                                and is not subject to appeal.
                        Upon a final determination that the felony conviction is associated
                        with the employee’s job, Human Resources must submit a




                                                                                                   Washington Field Office
                        completed VRS-180 (Employer Request for Forfeiture of Member
                        Benefits) to the VRS. The VRS-180 provides detailed descriptions




                                                                                                   Received by EEOC
                        of the forfeiture and appeals processes as well as which VRS




                                                                                                   Date 2-24-2023
                        benefits are affected by the request.

                        Direct the employee to the Virginia Retirement System (VRS) to
                        determine their eligibility for a full or partial refund of employee
                        contributions and interest based on vesting requirements for
                        refunds as established by the VRS policies.



                                Disciplinary Suspension

   General Provisions                                 Application
Disciplinary            ●   All disciplinary suspensions represent a Leave without Pay or
Suspensions                 pay docking transaction.
                        ●   Employees on suspension normally shall not be allowed on the
                            agency's premises, nor shall they be allowed to work except to
                            fulfill previously scheduled court obligations or to file and
                            process a grievance or Equal Employment Opportunity
                            complaint.
                        ●   The maximum periods of suspensions are described in
                            Attachment A – Examples of Offenses Grouped by Level.

Suspension of           Exempt employees’ salaries may not be reduced as the result of a
Employees Exempt        suspension except as described in this section. Exempt
from the Fair Labor     employees should be reimbursed promptly for any disciplinary
Standards Act           salary reductions that are non-compliant.

                        NOTE: Although probationary employees are not covered by this
                        policy, the FLSA rules for suspension are applicable.


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  General Provisions                                 Application
                       Suspension for Infraction of a Safety Rule
                       ● Disciplinary suspension of an exempt employee for an
                          infraction of a safety rule of major significance may be applied
                          for less than a full workday or workweek.
                       ● Safety rules of major significance are defined as provisions
                          intended to prevent serious danger to the workplace or to other
                          employees.

                       Suspension for Misconduct
                       ● If an exempt employee is suspended for misconduct, the
                          suspension shall not be less than a full workday.
                       ● Suspensions of more than one workday must be in multiples of
                          full workdays, e.g., a three-day (24 hour) suspension for an




                                                                                             Washington Field Office
                          employee assigned to 8-hour workdays, or a three-day (30
                          hour) suspension for an employee assigned to 10-hour




                                                                                             Received by EEOC
                          workdays.




                                                                                             Date 2-24-2023
                       ● If it becomes necessary to remove an exempt employee from
                          the workplace for a partial workday due to the employee’s
                          misconduct, the employee must be paid for that partial day’s
                          absence.

                       Suspension for Unsatisfactory Attendance or Non-Conduct
                       related Performance Issues
                       ● If an exempt employee is suspended for disciplinary reasons
                           related to the employee’s unsatisfactory attendance or
                           performance issues (non-conduct related) the suspension shall
                           not be less than a full workweek.
                       ● Suspensions of more than one workweek will be in multiples of
                           full workweeks, e.g., a three-week (120-hour) suspension. An
                           employee may not be permitted to serve a suspension related
                           to attendance or performance other than in whole workweek
                           segments.
                       ● Less serious violations in these areas should be addressed by
                           other means of discipline, reserving suspension for the most
                           serious or repeated violations.

                       Suspension Pending Outcome of a Criminal Investigation
                       ● If an exempt employee is suspended pending the outcome of a
                          criminal investigation, the employee must be paid for any
                          partial work week suspensions.
                       ● Full workweeks of suspension are unpaid. See the Policy
                          Guidance document Impact of Suspension on Pay and
                          Benefits



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Removal Due to Circumstances which Prevent Employees from Performing their Jobs

   General Provisions                                Application
Inability to meet working   An employee unable to meet the working conditions of their
conditions                  employment due to circumstances such as those listed below
                            may be removed under this section. Reasons include but are not
                            limited to:

                            ●   Loss, suspension or restrictions of driver's license that is
                                required for performance of the job;
                            ●   Incarceration for any period that is disruptive to agency
                                business operations;
                            ●   Failure to obtain or retain license, certification, or other




                                                                                                    Washington Field Office
                                credentialing required for the job;
                            ●   Inability to perform the essential functions of the job after




                                                                                                    Received by EEOC
                                reasonable accommodation (if required) has been discussed,




                                                                                                    Date 2-24-2023
                                applied and alternative accommodations will result in undue
                                hardship;
                            ●   Failure to successfully pass an agency’s background
                                investigation;
                            ●   Conviction of a misdemeanor crime of domestic violence for
                                employees whose jobs require: a) carrying a firearm; or b)
                                authorization to carry a firearm; or
                            ●   Conviction of barrier crimes that impact the employee’s ability
                                to perform assigned job duties;
                            ●   Failure to timely present appropriate documentation of identity
                                and eligibility to work in the U.S. as required by federal law to
                                include expiration of prior visa.

                            Prior to such removal, the appointing authority and/or Human
                            Resource Office shall gather full documentation supporting such
                            action and issue a notice of intent to the employee, verbally or in
                            writing, of the reasons for such a removal, giving the employee a
                            reasonable opportunity to respond.

                            Final notification of removal should be via memorandum or letter,
                            not by a Written Notice form.

                            Employees may challenge removals through the Employee
                            Grievance Procedure, and may direct questions regarding this
                            procedure to the DHRM Office of Employment Dispute
                            Resolution.

                            Agencies may, based on mitigating circumstances, demote or
                            transfer and reduce the employee’s duties with a minimum 5%
                            reduction in salary, or transfer them to an equivalent position
                                                                                          Page 16
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    General Provisions                                Application
                         without a reduction in salary as an alternative to termination
                         based upon availability of funded positions and agency business
                         need.

Terminations             Refer to Policy 1.70, Termination/Separation from State Service
                         for additional information on the disposition of leave and other
.                        benefits upon separation from state service.
                         Refer to the Terminations Reference Guide for additional
                         information


                             Use of Grievance Procedure

   General Provisions                                 Application
Classified Non-          Classified, non-probationary employees may challenge corrective




                                                                                                Washington Field Office
Probationary Employees   or disciplinary actions through the Employee Grievance
                         Procedure, and may direct questions regarding this procedure to




                                                                                                Received by EEOC
                         the Department of Human Resource Management’s Office of




                                                                                                Date 2-24-2023
                         Employment Dispute Resolution.

Hearing Officer's        A hearing officer may uphold, reduce or rescind corrective or
Authority                disciplinary actions taken by an agency so long as the officer’s
                         decision is consistent with written policy. See the Grievance
                         Procedure Manual for a full understanding of Hearing Officer’s
                         Authority.

                         Reinstatement by a Hearing Officer

                         When a hearing officer orders an employee's reinstatement from
                         suspension or termination the hearing officer may order:

                         ●   Full, partial, or no back pay;
                         ●   A reduction in the employee's disciplinary record such that
                             termination no longer could take place (e.g., the employee has
                             only three Group I Written Notices or one Group II Written
                             Notice); or the officer must reinstate the employee with full
                             back pay minus an appropriate disciplinary suspension;
                         ●   Adjustments to accrued leave; or
                         ●   Reimbursements for health insurance premiums.
                         ●   For additional details, see the Policy Guidance document
                             Impact of Suspension on Pay and Benefits




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                                   Records Management

   General Provisions                                    Application
Disciplinary Records       Agencies must update payroll and/or the human resources
                           information system records as promptly as feasible upon issuance
                           of a Written Notice, upon placing employees on pre-disciplinary
                           leave or disciplinary suspension, and upon subsequent demotions
                           or transfers with disciplinary salary actions, terminations, or
                           reinstatements or reduction of the disciplinary action. See the
                           DHRM Policy Guide – Managing Corrective and Disciplinary
                           Records.


                                        GLOSSARY

Pre-disciplinary Leave   Pre-disciplinary Leave is leave with pay which is applicable when




                                                                                                     Washington Field Office
                         disciplinary action is being considered and the employee’s removal
                         from the workplace is necessary or prudent to allow for the




                                                                                                     Received by EEOC
                         completion of a disciplinary review or pre-disciplinary investigation.




                                                                                                     Date 2-24-2023
Corrective Action        Any intervening verbal or written counseling action taken by a
                         supervisor or manager to address employment problems, such as
                         unacceptable performance, behavior, or conduct.

Counseling               Counseling may be a verbal or written intervention that consists of a
                         dialogue between an employee and their supervisor to address and
                         reinforce expectations of an employee's work performance,
                         behavior, and/or conduct. Written counseling discussions must be
                         documented in a written memorandum or the use of the Notice of
                         Improvement Needed/Substandard Performance form. Counseling
                         that is related to work performance may be included in an interim
                         performance evaluation as described in Policy 1.40, Performance
                         Planning and Evaluation.

Criminal Charge          An arrest or indictment by law enforcement authorities against an
                         employee for the commission of a criminal offense.

Criminal Offense         Criminal Offenses include felonies and misdemeanors as defined in
                         the statutes of the United States, the Commonwealth of Virginia,
                         other sovereign states, and other city and county governments.
                         Criminal offenses shall not include traffic or other charges that are
                         specifically differentiated and exempted from statutory criminal
                         offenses. However, DUI or other formal charges that impact an
                         employee's ability to drive a vehicle or could result in incarceration if
                         convicted shall be considered criminal charges.

Disciplinary Action      A formal action taken in response to unacceptable performance or
                         misconduct. Disciplinary actions include the issuance of Written
                         Notices; suspensions; demotions; transfers; disciplinary salary
                         actions; and terminations.

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Disciplinary Demotion   Management initiated assignment of an employee to the same or a
                        different position in the same or lower Pay Band/Grade with
                        reduced job responsibilities that must result in a minimum of a 5%
                        reduction in base salary. In no case may an employee’s salary
                        exceed the maximum of the pay band following a disciplinary salary
                        action.

Disciplinary Review     A process that involves reviewing the facts and circumstances
                        surrounding misconduct or unacceptable performance in order to
                        determine if disciplinary action is warranted.

Disciplinary Salary     Employees may be retained in their current positions and have their
Action                  duties reduced, be demoted, or transferred to positions in the same
                        or lower pay band with reduced job responsibilities in lieu of
                        termination. The employee’s salary in each case must be reduced
                        by at least 5%. In no case may an employee’s salary exceed the




                                                                                                 Washington Field Office
                        maximum of the pay band following a disciplinary salary action.
                        Agencies have the authority to transfer employees to equivalent




                                                                                                 Received by EEOC
                        positions as part of the disciplinary process without a reduction in




                                                                                                 Date 2-24-2023
                        salary.

Employee Assistance     A confidential assessment, referral, and short-term problem-solving
Program (EAP)           service available to eligible employees and family members.
                        Enrollment in the EAP is automatic as part of the health plan
                        coverage.

Formal Break in         For the purpose of this policy, a break of at least thirty days from
Service                 the date of separation. Periods of leave with or without pay do not
                        count toward satisfying this break in service.

Interim Evaluation      A performance evaluation completed during the performance cycle
                        to document and assess an employee’s progress toward achieving
                        the performance plan. Interim Performance Evaluations are not
                        considered “official” documents and are retained in the supervisor’s
                        confidential file for use in constructing the annual performance
                        evaluation. Counseling, particularly when related to work
                        performance, may be part of an interim evaluation. Prior to any pre-
                        disciplinary or disciplinary actions employees must be given oral or
                        written notification of an offense, an explanation of the agency's
                        evidence in support of the charge, and a reasonable opportunity to
                        respond. Agencies must provide a clear and descriptive
                        explanation of the offense in a manner that ensures that the
                        employee understands the facts presented and will be able to
                        present mitigating factors or denial of the charge.

Notice of Intent        Prior to any pre-disciplinary or disciplinary actions, employees must
                        be given oral or written notification of an offense, an explanation of
                        the agency's evidence in support of the charge, and a reasonable
                        opportunity to respond. Agencies must provide a clear and
                        descriptive explanation of the offense in a manner that ensures that

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                         the employee understands the facts presented and will be able to
                         present mitigating factors or denial of the allegations.

Notice of Improvement    A form completed by the immediate supervisor during the
Needed/Substandard       performance cycle to document substandard performance and the
Performance Form         need to improve performance. This document may be issued as
                         written counseling or may also result in issuance of a formal Written
                         Notice. This form must include an improvement plan, which
                         includes an improvement period of no less than 30 days or more
                         than 180 days. See Policy 1.40, Performance Planning and
                         Evaluation.

Progressive Discipline   A system of increasingly significant measures that are utilized to
                         provide feedback to employees so that they can correct conduct or
                         performance problems. It is most successful when provided in a
                         way that helps an employee become a fully contributing member of




                                                                                                   Washington Field Office
                         the organization. Progressive discipline also enables agencies to
                         objectively, and with reliable documentation, terminate an employee




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                         who is unable or unwilling to improve their workplace conduct




                                                                                                   Date 2-24-2023
                         and/or job performance. There may be extenuating circumstances
                         when an employee’s conduct requires disciplinary action
                         administered without employing progressive discipline.

Reasonable               Employees must be given a reasonable opportunity to respond after
Opportunity to           receiving notification of an impending pre-disciplinary or disciplinary
Respond                  action.

Standards of Conduct     Positive expectations for work performance, conduct, and behavior.
                         See Sections: Expectations for Employees and Expectations for
                         Supervisors/Managers.

Suspension               An employee's absence from work, without pay, that an agency
                         imposes as a part of a disciplinary action.

Unacceptable             Employee conduct or behavior that is inconsistent with state or
Conduct/Misconduct       agency standards for which specific corrective or disciplinary action
                         is warranted.

Workday                  For purposes of suspensions without pay, workday is defined as 8
                         hours for non-exempt employees. For exempt employees, a
                         workday consists of the hours scheduled to work on a normal day.

Workweek                 A fixed period of seven consecutive 24-hour periods which is
                         established by the employer for each employee. It may begin on
                         any day of the week and at any hour of the day; it need not coincide
                         with the calendar week. Full-time employees normally work a five-
                         day, 40-hour schedule during a workweek.




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Book                        Policy Manual

Section                     Section 3 - Human Resources

Title                       Faculty Sanction

Code                        Section 3.12

Status                      Active



Section 3

Human Resources




                                                                                                                                Washington Field Office
The purpose of this section is to record the various personnel rules, regulations, policies, and procedures of the Federal and State
governments, the State Board, and the System Office. Special attention is given to the difference in provisions for faculty and




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classified employees.




                                                                                                                                Date 2-24-2023
3.12 Faculty Sanctions

         Purpose: To provide fair and objective methods of addressing behavior and performance issues that interfere with
         the maintenance of high standards of professional conduct and work performance.

               3.12.0 Definition
                   a. Dismissal -- Dismissal is the involuntary termination of employment of faculty during the terms of
                      their appointment.

                    b. In ubordination   In ubordination i the refu al or deliberate failure to comply with a directive of a
                       supervisor when such directive is within the scope of authority/responsibility of the supervisor.

                    c. Misconduct -- Misconduct is any criminal, immoral, or unprofessional act occurring while working for
                       or repre enting the in titution or any uch act while on the premi e of the in titution or at pon ored
                       events. Misconduct shall include, without limitation, unauthorized taking or use of any State
                       property, conflicts of interest, engaging in or contributing to any assault, physical abuse or threats of
                       harm, misusing authority for personal gain or favors, unlawful discrimination, harassment and any act
                       that materially affect or interfere with the performance of one’ re pon ibilitie or the operation of
                       the institution.

                    d. Nonreappointment -- Nonreappointment is the decision not to renew the appointment of a faculty
                       member at the end of the current appointment period.

                   e. Suspension -- The required absence from work with or without pay that is imposed as part of a
                      disciplinary action or to remove the faculty member from the workplace pending an investigation
                      related to conduct or a court action.
               3.12.1 Nonreappointment
                   a. Coverage -- Full-time and regular part-time faculty in unrestricted positions are covered by the
                      provisions of this section.

                    b. Reasons for Nonreappointment -- Faculty may be nonreappointed only for just cause. Permissible
                       grounds for nonreappointment shall include but are not limited to incompetence, unsatisfactory job
                       performance, insubordination, or misconduct.



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                    c. Procedure -- The immediate supervisor shall schedule a conference with the faculty member. During
                       the conference, the faculty member shall be informed of the immediate supervisor's intention to
                       recommend nonreappointment and provided a written copy of the reasons for the recommendation.
                       The faculty member shall have up to five (5) business days to discuss and/or respond to the
                       recommendation in writing. If the supervisor recommends nonreappointment after consideration of
                       any response from the faculty member, a copy of the recommendation, response and any other
                       pertinent materials shall be forwarded to the vice president/executive vice president/provost. In
                       circumstances involving a direct report of a vice president/executive vice president/provost, the vice
                       president/executive vice president/provost’s recommendation or decision is binding. In cases
                       involving a vice president, executive vice president, provost, or direct report to the president, the
                       president’s decision is binding. The faculty member shall be notified in writing of the final decision
                       regarding nonreappointment.

                       Nothing in the procedure described herein shall prevent the president or the president's designee
                       from taking appropriate action to not reappoint a faculty member.

                    d. Time Frames -- The notification of nonreappointment shall be sent to the faculty member not later
                       than the following dates:

                       (1) March 15 during the probationary, second year of employment, and third year of employment as
                       teaching faculty in the VCCS.




                                                                                                                            Washington Field Office
                       (2) January 15 for teaching faculty in the last year of a multi-year appointment; and other teaching
                       faculty who are on one year appointments, but who are not in their probationary, second, or third




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                       year of employment.




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                      (3) January 15 for administrative and professional faculty.
               3.12.2 Dismissal
                   a. Coverage -- All full-time faculty and regular part-time nine-month teaching faculty are covered by this
                      policy.

                    b. Reasons for Dismissal -- Faculty may be dismissed only for just cause. Permissible grounds for
                       dismissal shall include but are not limited to incompetence, unsatisfactory performance of duties,
                       insubordination, unlawful discrimination, sexual or workplace harassment, and misconduct.

                    c. Procedure -- The immediate supervisor of a faculty member may initiate dismissal proceedings
                       whenever sufficient justification exists to consider dismissal for just cause. In all cases, the
                       supervisor must demonstrate that credible evidence is present to justify dismissal. The immediate
                        upervi or hall chedule a conference with the faculty member. During the conference, the faculty
                       member shall be informed both orally and in writing of the justification for considering dismissal and
                       shall have the opportunity to discuss and respond to the issue. The immediate supervisor shall
                       identify the required corrective action unless immediate dismissal is recommended.

                       Following the conference, a faculty member may have up to five (5) business days to submit a written
                       response and/or additional information to the immediate supervisor for consideration. If the
                       supervisor recommends dismissal after consideration of any response from the faculty member, a
                       copy of the recommendation, re pon e and any other pertinent material hall be forwarded to the
                       vice president/executive vice president/provost. In circumstances involving a direct report of a vice
                       president/executive vice president/provost, the vice president/executive vice president/provost’s
                       recommendation or decision is binding. In cases involving a vice president, executive vice president,
                       provo t, or direct report to the pre ident, the pre ident’ deci ion i binding. The vice
                       president/executive vice president/provost or president shall notify the faculty member in writing of
                       the decision. If the decision is to dismiss, the letter will include the effective date.

                       Nothing in the procedure de cribed herein hall prevent the pre ident or the pre ident' de ignee
                       from taking appropriate action to dismiss a faculty member.

                   d. Exceptional Cases -- The initial recommendation of dismissal may be issued from the vice
                      pre ident/executive vice pre ident/provo t or the pre ident in tead of the immediate upervi or. In
                      all such cases, the faculty member shall be notified of the identity of the person making the initial
                      recommendation.
               3.12.3 Suspension
                   a. Coverage     All faculty are covered by thi policy.



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                    b. Use in Dismissal Cases -- Suspension of faculty is not to be used routinely in possible dismissal
                       cases. Such use is justified only if a substantial threat to the welfare of the institution can reasonably
                       be interpreted a meaning that the faculty member’ continuance at the in titution will cau e
                       immediate harm to the faculty member or others or materially affects or interferes with the
                       performance of one’s responsibilities, or the operations of the institution. The president shall
                       determine whether suspensions are with or without pay, within legal guidelines.

                    c. Procedure -- Nothing in the procedure described herein shall prevent the president or the president's
                       designee from suspending a faculty member. Prior to taking such action, vice president/executive
                       vice president/provost shall inform the affected faculty member of the reason for the suspension and
                       provide the faculty member an informal opportunity to re pond to the allegation .

                    d. Investigations -- The vice president/executive vice president /provost shall ensure that an
                       investigation be conducted and completed within thirty (30) calendar days of the date of the start of
                       the u pen ion. Upon conclu ion of the inve tigation, court action, or official inve tigation, the faculty
                       member may be disciplined, dismissed, suspended, or reinstated from suspension as the vice
                       president/executive vice president/provost determines to be appropriate under the circumstances.

                   e. Though u pen ion are generally with pay, a u pen ion without pay for up to thirty (30) work day
                      may be utilized as a disciplinary action in lieu of dismissal.
               3.12.4 General Provisions
                   a. Academic Freedom -- Faculty sanctions shall not be used to restrain faculty in their exercise of




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                      con titutional right or academic freedom a et forth in the Statement of Academic Freedom and
                      Responsibility adopted by the State Board.




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                    b. Appeals -- Decisions made under the provisions of the Sanctions policy may be appealed through the
                       Faculty Grievance Procedure.
                                  1. Appeals of nonreappointments, dismissals, and suspensions must be filed within twenty
                                     (20) work days after receipt of notification of nonreappointment, dismissal or
                                     suspension.

                                   2. Adjunct Faculty may appeal suspension and dismissal issues to the end of Level Two of
                                      the Faculty Grievance Procedure.

                                   3. A ociate In tructor may appeal di mi al and u pen ion i         ue to the end of Level
                                      Three of the Faculty Grievance Procedure

                    c. Extension of Time -- Every effort shall be made by all parties to expedite the process. The time
                       limitation pecified for either party may be extended by mutual written agreement.

                    d. Delivery of Notices -- When giving notice of action or requesting appeal, it is the author's
                       responsibility to make all reasonable effort to ensure that the person(s) designated to receive such
                       notice and reque t receive( ) them per onally. Per onal delivery by the author or certified mail
                       with return receipt or other delivery forms that provide a receipt should be used for the delivery of
                       notices and requests when appropriate.




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From: Credle, JoAnn O.
Sent: Wednesday, July 13, 2022 9:51 AM
To: Mucci, Diane M. <dmucci@nvcc.edu>
Subject:

I saw that you were free from the contact list, walked to you office and your administrator told me you
were on zoom. I was walking in the hallway and saw you talking to the administrator.
                                                                       .

I was unable to put my leave in- I have a new computer with Window 11 and some applications are not
showing up.


When I come back, I will find a computer on campus and complete the leave , so I will not get in trouble.




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From: Credle, JoAnn O.
Sent: Wednesday, July 13, 2022 3:26 PM
To: Mucci, Diane M. <dmucci@nvcc.edu>
Subject: RE: ADA Contact and EAP Information

Thank you- I will forward to my lawyer.

From: Mucci, Diane M. <dmucci@nvcc.edu>
Sent: Wednesday, July 13, 2022 1:53 PM
To: Credle, JoAnn O. <jcredle@nvcc.edu>
Subject: ADA Contact and EAP Information

Hello JoAnn,

I requested information from HR to send to you about accommodations and the




                                                                                            Washington Field Office
employee assistance program.




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Medical accommodations can be requested through the ADA office. The contact
is ADA@NVCC.EDU

NOVA’s EAP information is below and attached:

NOVA Cares’ website has list of resources
(http://www.nvcc.edu/novacares/resources.html).

        • NOVA Benefits: benefits@nvcc.edu
        • EAP: See
            attached; http://www.dhrm.virginia.gov/employeeprograms/employeeassistanc
            e
        • Mental Health Provide Database: http://nvcc.rints.com/
        • National Suicide Prevention Lifeline:
            1.800.273.8255; http://www.suicidepreventionlifeline.org/
        • Virginia Veteran Services: 804.786.0286; https://www.dvs.virginia.gov/virginia-
            veteran-and-family-support-2/
        • Community Service Board: Community Services Board - Prince
            William/Manassas: 703.792.7800 (Manassas) or 703.792.4900
            (Woodbridge); Community Services Board - Fairfax/Falls Church:
            703.573.5679 (emergency) or 703.383.8500


Please take care, we can talk or you may want to set an appointment with HR directly
tomorrow.

Diane

Diane Mucci, Ph.D.
Provost, Annandale Campus
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CFH 202
8333 Little River Turnpike, Annandale, VA, 22003
703-503-6383/ dmucci@nvcc.edu / nvcc.edu




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                                             Psychotherapy Intake Note
NCCI Integrative Behavioral Services                                  Date and Time: August 16, 2022 9:15PM - 10:45PM
Clinician: Philicia Jefferson, Ph.D.                                  Duration:       90 minutes
Patient:    Joann Credle,                                             Service Code:   90791
                                                                      Location:       Telehealth
                                                                      Participants:   Client only




Presenting Problem




                                                                                                                                 Washington Field Office
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                                                                                                                                 Date 2-24-2023
Current Mental Status
Orientation:                       X3: Oriented to Person, Place, and Time
General Appearance:                Appropriate
Dress:                             Appropriate
Motor Activity:                    Unremarkable
Interview Behavior:                Appropriate
Speech:                            Normal
Mood:                              Anxious
Affect:                            Congruent
Insight:                           Good
Judgment/Impulse Control:          Good
Memory:                            Intact
Attention/Concentration:           Distractible
Thought Process:                   Unremarkable
Thought Content:                   Appropriate
Perception:                        Unremarkable
Functional Status:                 Intact


Risk Assessment
Patient denies all areas of risk. No contrary clinical indications present.

Objective Content


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                                       Psychotherapy Intake Note
NCCI Integrative Behavioral Services                Date and Time: August 16, 2022 9:15PM - 10:45PM
Clinician: Philicia Jefferson, Ph.D.                Duration:       90 minutes
Patient:   Joann Credle,                            Service Code:   90791
                                                    Location:       Telehealth
                                                    Participants:   Client only




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                                           Psychotherapy Intake Note
NCCI Integrative Behavioral Services                                Date and Time: August 16, 2022 9:15PM - 10:45PM
Clinician: Philicia Jefferson, Ph.D.                                Duration:         90 minutes
Patient:    Joann Credle,                                           Service Code:     90791
                                                                    Location:         Telehealth
                                                                    Participants:     Client only




Biopsychosocial Assessment
Identification:                        Dr. Credle is a career community college administrative-faculty whose primary responsibility is
                                       serving student organizations and special program participants..
History of Present Problem:




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                                                                                                                                      Date 2-24-2023
Psychiatric History:                   Dr. Credle has no previous mental health history
Trauma History:




Family Psychiatric History:            none reported.
Medical Conditions & History:          none reported
Current Medications:                   none reported
Substance Use:                         none reported
Family History:                        Parents are deceased - no close family members in the region
Social History:                        Dr. Credle has a history of supportive relationships throughout the community and the college
                                       environment.
Spiritual/Cultural Factors:            Dr. Credle embraces Christian theology and considers it to be important part of her daily life.
Developmental History:                 unremarkable
Educational/Vocational History:        doctorate level education
Legal History:                         none
SNAP:                                  personable, intellectual and hardworking
Other Important Information:           Dr. Credle now perceives the work environment as hostile. She is unable to resume normal job
                                       functions




Plan
Pursue accommodations in the workplace that will support a change of venue while trying to overcome debilitating
symptoms. Dr. Credle's condition is work-related and is debilitating. It could also have long-term residual effects.




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                                         Psychotherapy Intake Note
NCCI Integrative Behavioral Services                             Date and Time: August 16, 2022 9:15PM - 10:45PM
Clinician: Philicia Jefferson, Ph.D.                             Duration:         90 minutes
Patient:   Joann Credle,                                         Service Code:     90791
                                                                 Location:         Telehealth
                                                                 Participants:     Client only




Diagnosis
F41.0


 Philicia Jefferson, Ph.D., Director signed this note and declared this information to be accurate and complete on August 18, 2022
 at 10:19PM.




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